Case 1:25-cv-00208-JJM-PAS          Document 1       Filed 05/13/25      Page 1 of 63 PageID #: 1




                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF RHODE ISLAND



  STATE OF CALIFORNIA; STATE OF
  ILLINOIS; STATE OF NEW JERSEY;
  STATE OF RHODE ISLAND; STATE OF
  MARYLAND; STATE OF COLORADO;
  STATE OF CONNECTICUT; STATE OF
  DELAWARE; STATE OF HAWAII; STATE
  OF MAINE; COMMONWEALTH OF
  MASSACHUSETTS; PEOPLE OF THE
  STATE OF MICHIGAN; STATE OF
  MINNESOTA; STATE OF NEVADA;
  STATE OF NEW MEXICO; STATE OF
  NEW YORK; STATE OF OREGON;
  STATE OF VERMONT; STATE OF                                  No. 1:25-cv-__________
  WASHINGTON; AND STATE OF
  WISCONSIN,

                            Plaintiffs,

     v.

  UNITED STATES DEPARTMENT OF
  TRANSPORTATION; SEAN DUFFY, in
  his official capacity as Secretary of
  Transportation,

                            Defendants.



       1.    The States of California, Illinois, New Jersey, Rhode Island, Maryland, Colorado,

 Connecticut, Delaware, Hawaii, Maine, Massachusetts, the People of the State of Michigan,

 Minnesota, Nevada, New Mexico, New York, Oregon, Vermont, Washington, and Wisconsin

 (Plaintiff States) bring this complaint to prevent the Trump Administration from trying to strong-

 arm them into participating in federal immigration enforcement by threatening to cut off billions

 of dollars in transportation funding if they refuse to comply. The funding at issue was authorized

 by Congress, and Congress imposed no requirement for States to cooperate with immigration
 enforcement as a condition for receiving funding. Indeed, the statutes and funding at issue—

                                                 1
Case 1:25-cv-00208-JJM-PAS             Document 1         Filed 05/13/25       Page 2 of 63 PageID #: 2




 which sustain roads, highways, bridges, and other transportation projects—have nothing to do

 with immigration enforcement. Plaintiff States therefore challenge the Trump Administration’s

 unlawful attempt to usurp Congress’s power by imposing an immigration enforcement

 requirement on billions of dollars in annual United States Department of Transportation (U.S.

 DOT) funding.

       2.     To protect the liberties of States and their residents, the United States Constitution

 delineates a separation of powers between the Executive Branch and Legislative Branch.

 “Among Congress’s most important authorities is its control of the purse.” Biden v. Nebraska,

 600 U.S. 477, 505 (2023). The Appropriations, Legislation, and Spending Clauses of the U.S.

 Constitution assign to Congress the authority to create legislation authorizing and appropriating

 the distribution of federal funds. See U.S. Const. art. I, § 1; id. § 8, cl. 1; id. § 9, cl. 7. While

 Congress may, at times, delegate some of its authority to the Executive Branch through statute,

 the Executive Branch possesses no inherent authority to rewrite statutes Congress has written.

 Clinton v. City of New York, 524 U.S. 417, 438 (1998).

       3.     These provisions in the U.S. Constitution have the “fundamental and comprehensive

 purpose . . . . to assure that public funds will be spent according to the letter of the difficult

 judgments reached by Congress as to the common good and not according to the individual favor

 of Government agents.” Off. of Pers. Mgmt. v. Richmond, 496 U.S. 414, 427-28 (1990). The
 Constitution places this power in the hands of Congress “to secure regularity, punctuality, and

 fidelity, in the disbursements of the public money.” 2 Commentaries on the Constitution of the

 United States § 1348 (3d ed. 1858) (Story, J.). “If it were otherwise, the executive would possess

 an unbounded power over the public purse of the nation” and “might apply all its moneyed

 resources at his pleasure” with no check upon “ corrupt influence[.]” Id.

       4.     For more than a century, Congress has used its constitutional authority to enact

 numerous statutes that direct federal funding to the States to promote the development,

 maintenance, and safety of our nation’s transportation infrastructure. State and local
 governments have relied on these federal funding programs—totaling more than $100 billion

                                                     2
Case 1:25-cv-00208-JJM-PAS           Document 1       Filed 05/13/25      Page 3 of 63 PageID #: 3




 annually—to support the roads, highways, railways, airways, ferries, and bridges that connect

 their communities and carry their residents to their workplaces and their homes.

       5.    All of these federal programs provide funding to Plaintiff States pursuant to statutes

 that Congress enacted. All of these statutes direct Defendants to distribute funding according to

 the means Congress specified. And none of these statutes concerns immigration enforcement or

 identifies State cooperation with immigration enforcement as a prerequisite for federal funding.

       6.    Despite these constraints imposed by Congress and the Constitution, Defendants are

 now attempting to seize Congress’s power of the purse by imposing a federal immigration

 enforcement condition on transportation funds—funds like those intended to replace decaying

 bridges, repair roads and highways, and ensure safe air travel—that have nothing to do with

 federal immigration enforcement. And despite the detailed statutory schemes specific to each

 federal program at issue here, Defendants effectively seek to rewrite those laws by categorically

 and unlawfully imposing the same federal immigration enforcement condition across all of them.

       7.    On April 24, 2025, United States Secretary of Transportation Sean Duffy issued a

 letter (the “Duffy Directive”) to all recipients of U.S. DOT funding announcing its policy, for the

 first time, of imposing an immigration enforcement condition on all U.S. DOT funding. The

 Letter states that all U.S. DOT funding recipients would be required to “cooperate with Federal

 officials in the enforcement of . . . Federal immigration law” (the “Immigration Enforcement
 Condition”). Secretary Duffy’s letter cites no governing statute or statutory provisions that

 authorize this new requirement. Nor could he. None of the U.S. DOT funding statutes

 contemplate any connection whatsoever between transportation funding and federal civil

 immigration enforcement. Nor do they require States to use their own resources to participate in

 immigration enforcement as a condition of receiving federal transportation funds.

       8.    Consistent with the Duffy Directive, U.S. DOT and its subagencies have begun

 imposing the Immigration Enforcement Condition—using language nearly identical to that in the

 Duffy Directive—across their standard terms and conditions for federal funding, as well as



                                                  3
Case 1:25-cv-00208-JJM-PAS            Document 1         Filed 05/13/25      Page 4 of 63 PageID #: 4




 within the terms and conditions for specific U.S. DOT grants that are being awarded (or likely

 soon will be awarded) to Plaintiff States.

       9.    The Duffy Directive’s announcement of the new Immigration Enforcement

 Condition across all U.S. DOT funding programs, and the incorporation of the Immigration

 Enforcement Condition into U.S. DOT grant agreements, exceeds Defendants’ legal authority, is

 arbitrary and capricious, and is unconstitutional in several respects. The Immigration

 Enforcement Condition contemplates requirements that go well beyond the statutory purposes of

 the funding programs—none of which was designed to further federal civil immigration

 enforcement—and exceeds the limited bases on which U.S. DOT is permitted to withhold

 funding.

       10.   If Plaintiff States reject Defendants’ unlawful Immigration Enforcement Condition,

 they will collectively lose billions in federal funding that is essential to sustain critical public

 safety and transportation programs, including highway development, airport safety projects,

 protections against train collisions, and programs to prevent injuries and deaths from traffic

 accidents. The loss of this funding will cause state and local providers to scale back or even

 terminate many of these programs and projects. More cars, planes, and trains will crash, and

 more people will die as a result, if Defendants cut off federal funding to Plaintiff States.

       11.   If Plaintiff States agree to the unlawful Immigration Enforcement Condition,
 Plaintiff States will likewise be harmed. The condition is vague, and if read broadly, agreement

 could commit Plaintiff States’ law enforcement or state agency personnel to federal immigration

 enforcement, incurring administrative costs and burdens by diverting limited personnel time and

 resources to federal immigration responsibilities that transportation personnel have no expertise

 in and have never had to handle before. Doing so could also expose States to potential civil

 liability for acts in connection with federal immigration enforcement. Further, entanglement of

 state and local law officials in federal immigration efforts will undermine cooperation in criminal

 investigations, especially among immigrant communities. This, in turn, will undermine public



                                                    4
Case 1:25-cv-00208-JJM-PAS            Document 1         Filed 05/13/25    Page 5 of 63 PageID #: 5




 safety, and in some States, expose state and local officials to potential violations of state laws

 enacted to encourage immigrants to report crimes they have witnessed or suffered.

       12.   The Duffy Directive and Immigration Enforcement Condition thereby place Plaintiff

 States’ officials in an untenable position. The Immigration Enforcement Condition requires state

 and local officials to choose between undermining public safety and diverting transportation

 resources to unrelated federal immigration functions, on the one hand, or potentially losing

 billions of dollars in federal funding, on the other.

       13.   Courts have repeatedly rejected similar attempts by the first Trump Administration to

 unlawfully withhold federal funding from States in its attempts to strong-arm States into

 diverting their limited resources to civil immigration enforcement. See, e.g., City of Providence

 v. Barr, 954 F.3d 23, 45 (1st Cir. 2020); City of Philadelphia v. Att’y Gen. of United States, 916

 F.3d 276, 291 (3d Cir. 2019); City of Chicago v. Barr, 961 F.3d 882, 931 (7th Cir. 2020); City &

 Cnty. of San Francisco v. Barr, 965 F.3d 753, 761 (9th Cir. 2020); City of Los Angeles v. Barr,

 941 F.3d 931, 944 (9th Cir. 2019); Colorado v. U.S. Dep’t of Justice, 455 F. Supp. 2d 1034, 1040

 (D. Colo. 2020); City of Evanston v. Sessions, No. 18 C 4853, 2018 WL 10228461, at *1 (N.D.

 Ill. 2018); City of Albuquerque v. Barr, 515 F. Supp. 3d 1163, 1181-82 (D. N.M. 2021).

       14.   This Court should reject this further attempt by Defendants to hold hostage federal

 funding appropriated by Congress for Defendants’ own ends.
       15.   Plaintiff States therefore bring this action to put a stop to the federal government’s

 unconstitutional and unlawful campaign to withhold federal funds that bear no relation to

 immigration enforcement in an attempt to coerce Plaintiff States into enforcing the federal

 government’s preferred immigration policy.

                                  JURISDICTION AND VENUE
       16.   This Court has jurisdiction under 28 U.S.C. § 1331. An actual controversy exists

 between the parties within the meaning of 28 U.S.C. § 2201(a), and this Court may grant

 declaratory relief, injunctive relief, and other relief against the Defendants pursuant to 28 U.S.C.
 §§ 2201 and 2202 and 5 U.S.C. §§ 701-06.

                                                    5
Case 1:25-cv-00208-JJM-PAS             Document 1        Filed 05/13/25     Page 6 of 63 PageID #: 6




       17.    Venue is proper in this judicial district under 28 U.S.C. § 1391(e) because this is a

 civil action in which Defendants are agencies of the United States or officers of such an agency,

 no real property is involved in this action, Plaintiff State of Rhode Island resides in this judicial

 district, and a substantial part of the events or omissions giving rise to this Complaint occurred

 within the District of Rhode Island. This action seeks relief against federal agencies and federal

 officials acting in their official capacities.

                                                  PARTIES

 I.    PLAINTIFFS
       18.    Plaintiff the State of California, represented by and through its Attorney General

 Rob Bonta, is a sovereign State of the United States of America. As the State’s chief legal

 officer, the Attorney General is authorized to act on behalf of the State in this matter.

       19.    Plaintiff the State of Illinois, represented by and through its Attorney General

 Kwame Raoul, is a sovereign State of the United States of America. As the State’s chief legal

 officer, the Attorney General is authorized to act on behalf of the State in this matter.

       20.    Plaintiff the State of New Jersey, represented by and through its Attorney General,

 Matthew J. Platkin, is a sovereign State of the United States of America. As the State’s chief

 legal officer, the Attorney General is authorized to act on behalf of the State in this matter.

       21.    Plaintiff the State of Rhode Island, represented by and through its Attorney General
 Peter F. Neronha, is a sovereign State of the United States of America. As the State’s chief legal

 officer, the Attorney General is authorized to act on behalf of the State in this matter.

       22.    Plaintiff the State of Maryland is a sovereign State of the United States of America.

 Maryland is represented by Attorney General Anthony G. Brown, who is the chief legal officer

 of Maryland.

       23.    Plaintiff the State of Colorado is a sovereign State of the United States of America.

 Colorado is represented by Phil Weiser, the Attorney General of Colorado. The Attorney General

 acts as the chief legal representative of the State and is authorized by Colo. Rev. Stat. § 24-31-
 101 to pursue this action.

                                                     6
Case 1:25-cv-00208-JJM-PAS           Document 1       Filed 05/13/25      Page 7 of 63 PageID #: 7




       24.   Plaintiff the State of Connecticut is a sovereign State of the United States of

 America. Connecticut is represented by and through its chief legal officer, Attorney General

 William Tong, who is authorized under Conn. Gen. Stat. § 3-125 to pursue this action on behalf

 of the State of Connecticut.

       25.   Plaintiff the State of Delaware is a sovereign State of the United States of America.

 Delaware is represented by Attorney General Kathy Jennings, who is the chief law enforcement

 officer of Delaware.

       26.   Plaintiff the State of Hawai’i is a sovereign State of the United States of America.

 Hawai’i is represented by Attorney General Anne E. Lopez, who is the chief law enforcement

 officer of Hawai’i.

       27.   Plaintiff the State of Maine is a sovereign State of the United States of America.

 Maine is represented by Attorney General Aaron M. Frey, who is the chief law enforcement

 officer of Maine.

       28.   Plaintiff the Commonwealth of Massachusetts is a sovereign State of the United

 States of America. Massachusetts is represented by Attorney General Andrea Joy Campbell, who

 is the chief law enforcement officer of Massachusetts.

       29.   Plaintiff the People of the State of Michigan is represented by Attorney General

 Dana Nessel. The Attorney General is Michigan’s chief law enforcement officer and is
 authorized to bring this action on behalf of the People of the State of Michigan pursuant to Mich.

 Comp. Laws § 14.28.

       30.   Plaintiff the State of Minnesota is a sovereign State of the United States of America.

 Minnesota is represented by Keith Ellison, the Attorney General of the State of Minnesota. The

 Attorney General’s powers and duties include acting in federal court in matters of State concern.

 Minn. Stat. § 8.01. The Attorney General has the authority to file suit to challenge action by the

 federal government that threatens the public interest and welfare of Minnesota residents and to

 vindicate the State’s sovereign and quasi-sovereign interests.



                                                  7
Case 1:25-cv-00208-JJM-PAS            Document 1        Filed 05/13/25       Page 8 of 63 PageID #: 8




       31.   Plaintiff State of Nevada, represented by and through Attorney General Aaron D.

 Ford, is a sovereign State of the United States of America. The Attorney General is the chief law

 enforcement of the State of Nevada and is authorized to pursue this action under Nev. Rev. Stat.

 §§ 228.110 and Nev. Rev. Stat. 228.170.

       32.   Plaintiff State of New Mexico is a sovereign State of the United States of America.

 New Mexico is represented by Attorney General Raúl Torrez, who is the chief law enforcement

 officer of New Mexico authorized by N.M. Stat. Ann. § 8-5-2 to pursue this action.

       33.   Plaintiff the State of New York, represented by and through its Attorney General

 Letitia James, is a sovereign State of the United States of America. As the State’s chief legal

 officer, the Attorney General is authorized to act on behalf of the State in this matter.

       34.   Plaintiff the State of Oregon, represented by and through its Attorney General Dan

 Rayfield, is a sovereign State of the United States of America. As the State’s chief legal officer,

 the Attorney General is authorized to act on behalf of the State in this matter.

       35.   Plaintiff State of Vermont is a sovereign State of the United States of America.

 Vermont is represented by Attorney General Charity R. Clark, who is the chief law enforcement

 officer and is authorized by law to initiate litigation on behalf of the State.

       36.   Plaintiff the State of Washington, represented by and through its Attorney General,

 Nicholas W. Brown, is a sovereign State of the United States of America. The Attorney General
 of Washington is the chief legal advisor to the State and is authorized to act in federal court on

 behalf of the State on matters of public concern. Wash. Rev. Code §§ 43.10.05-43.10.801.

       37.   Plaintiff the State of Wisconsin, represented by and through its Attorney General

 Josh Kaul, is a sovereign State of the United States of America. As the State’s chief legal officer,

 the Attorney General is authorized to act on behalf of the State in this matter.

       38.   Plaintiff States have standing to bring this action because Defendants’ Duffy

 Directive and their decisions to require the Immigration Enforcement Condition harm the States’

 sovereign, proprietary, and quasi-sovereign interests and will continue to cause injury unless and
 until enforcement of this policy is permanently enjoined.

                                                    8
Case 1:25-cv-00208-JJM-PAS            Document 1        Filed 05/13/25       Page 9 of 63 PageID #: 9



 II.   DEFENDANTS
       39.    Defendant United States Department of Transportation is an executive department of

 the United States. 49 U.S.C. § 102(a). U.S. DOT is a federal agency and engages in agency

 action within the meaning of 5 U.S.C. § 702. U.S. DOT is responsible for administering federal

 funding programs at issue in this complaint.

       40.    Defendant Sean Duffy is the Secretary of Transportation for the United States and

 the head of U.S. DOT. See 49 U.S.C. § 301. He is sued in his official capacity.

                                           BACKGROUND

 I.    FOR MORE THAN A CENTURY, STATES HAVE RELIED ON FEDERAL FUNDING
       APPROPRIATED BY CONGRESS TO SUPPORT THE DEVELOPMENT, MAINTENANCE,
       AND SAFETY OF TRANSPORTATION INFRASTRUCTURE

       41.    For more than a century, Congress has authorized and directed federal funding to

 support States’ development of transportation infrastructure to knit this nation’s communities

 together. See, e.g., Federal Aid Road Act of 1916, Pub. L. No. 64–156, 39 Stat. 355 (Jul. 11,

 1916).

       42.    Congress has consistently and steadily increased the federal government’s financial

 assistance to state and local governments, and has expanded that aid to cover all aspects of travel

 across this nation’s roads, railroads, bridges, highways, waterways, and airways.

       43.    Indeed, Congress enacted these statutes recognizing that American communities

 need such infrastructure, and that neither the federal government nor the States can develop this
 critical infrastructure alone.

       44.    Consistent with the statutes created by Congress over the course of many decades,

 state and local governments annually receive more than $100 billion to build and maintain

 reliable, safe, and efficient transportation systems for their residents.

       45.    This federal funding typically supports transportation programs or projects that

 would not exist but for the federal funds. State transportation budgets are largely committed to

 preexisting priorities—including, for example, the maintenance of existing state infrastructure.




                                                    9
Case 1:25-cv-00208-JJM-PAS                  Document 1 Filed 05/13/25                    Page 10 of 63 PageID #:
                                                     10



 And Plaintiff States do not have sufficient funding or budgetary flexibility to cover the loss of

 U.S. DOT funding if Defendants were to deny that funding.

        46.    The breadth of projects funded by the federal government is reflected in the many

 different sub-agencies within U.S. DOT that administer the dozens of different funding programs

 to support Plaintiff States’ transportation systems, including: the Federal Highway

 Administration; the Federal Transit Administration; the Federal Railroad Administration; the

 Federal Motor Carrier Safety Administration; the National Highway Traffic Safety

 Administration; the Federal Aviation Administration; the Federal Maritime Administration; and

 the Pipeline and Hazardous Materials Administration.1

        A.     Federal Funding from the Federal Highway Administration
       47.     Recognizing the need for federal support to develop an interconnected system of

 roads throughout the States, Congress first created the Federal-Aid Highway program in 1916.

 Federal Aid Road Act of 1916, Pub. L. No. 64–156, 39 Stat. 355. When signing the program into

 law, President Woodrow Wilson observed that federal funding would contribute to a “more

 effective highway machinery in each State,” and that “the development of good road building”

 would “add greatly to the convenience and economic welfare of all the people, and strengthen

 the national foundations.” Richard F. Weingroff, U.S. Dep’t of Transp., Creation of a Landmark:

 The Federal Aid Road Act of 1916 74-75 (quoting Letter from President Woodrow Wilson to A.
 F. Lever, in Agricultural Legislation in the First Wilson Administration, DOCUMENTS OF

 AMERICAN HISTORY 295-96 (Commanger ed., 3d Ed. 1947)).

       48.     Since then, Congress has regularly passed legislation providing federal funding to

 States to further develop the nation’s highways, enacting dozens of statutes to that end. See, e.g.,

 U.S. DEP’T OF TRANSP., FEDERAL HIGHWAY ADMIN., AMERICA’S HIGHWAYS 1776-1976: A

 HISTORY OF THE FEDERAL-AID PROGRAM, 546-47 (1977); The Federal Highway Act of 1921,

 Pub. L. No. 67-87, 42 Stat. 212; Federal-Aid Highway Act of 1956, Pub. L. No. 84-627, 70 Stat.

          1
           Below, Plaintiff States discuss many of the U.S. DOT funding programs upon which they rely. The
 sources of U.S. DOT funding discussed below are illustrative, not exhaustive, and Plaintiff States seek relief as to all
 funding administered by Defendants, not merely those discussed here.

                                                           10
Case 1:25-cv-00208-JJM-PAS          Document 1 Filed 05/13/25            Page 11 of 63 PageID #:
                                             11



 374; Federal-Aid Highway Act of 1973, Pub. L. No. 93-87, 87 Stat. 250; Infrastructure

 Investment and Jobs Act, Pub. L. No. 117-58, 135 Stat. 429 (Nov. 15, 2021).

            1. Federal Highway-Aid Program
      49.    The primary means by which Congress allocates highway funding to the States is

 through the Federal Highway-Aid Program. The program provides federal formula funding to the

 States for the construction, maintenance and operation of the country’s 3.9 million-mile highway

 network, including the Interstate Highway System, primary highways, and secondary local roads.

      50.    The Federal Highway-Aid Program is administered by the Federal Highway

 Administration, a sub-agency within U.S. DOT. See 49 U.S.C. § 104(a).

      51.    The Infrastructure Investment and Jobs Act authorized $356.5 billion for fiscal years

 2022 through 2026 to be used for the Federal Highway-Aid Program.

      52.    Currently, there are nine core formula funding programs within the Federal

 Highway-Aid Program: the National Highway Performance Program, 23 U.S.C. § 119; the

 Surface Transportation Block Grant Program, 23 U.S.C. § 133; the Highway Safety

 Improvement Program, 23 U.S.C. § 148; the Railway-Highway Crossings Program, 23 U.S.C. §

 130 and 23 C.F.R. Part 924; the Congestion Mitigation and Air Quality Improvement Program,

 23 U.S.C. § 149; the Metropolitan Planning Program, 23 U.S.C. § 104(d); the National Highway

 Freight Program, 23 U.S.C. § 167; the Carbon Reduction Program, 23 U.S.C. § 175; and the
 PROTECT Formula Program, 23 U.S.C. § 176.

      53.    Each of the core formula programs has unique purposes, none of which are related to

 immigration enforcement. For example, the purposes of the National Highway Performance

 Program are to provide support for the condition and performance of the National Highway

 System; to provide support for the construction of new facilities on the National Highway

 System; to ensure that investments of federal funds in highway construction support progress

 toward performance targets established in a State’s asset management plan for the National

 Highway System; and to provide support for activities to increase the resiliency of the National



                                                11
Case 1:25-cv-00208-JJM-PAS             Document 1 Filed 05/13/25             Page 12 of 63 PageID #:
                                                12



 Highway System to mitigate the cost of damages from sea level rise, extreme weather events,

 flooding, wildfires, or other natural disasters. 23 U.S.C. § 119(b).

       54.   Congress directed funding for all core Federal-Aid Highway programs to be

 apportioned among the States by formula. See 23 U.S.C. § 104. Because federal highway-aid

 funding is disbursed through formula funding, and not competitive grants, each State is entitled

 to a specific allocation of funding by law. See id.

       55.   The Federal-Aid Highway statutes do not authorize U.S. DOT to impose the

 Immigration Enforcement Condition as a requirement for participation in Federal-Aid Highway

 funding.

       56.   Plaintiff States receive and rely upon substantial sums of funding from these federal

 highway formula programs. Tallying both the actual amounts received in fiscal years 2022 and

 2023 with estimated funds awarded for fiscal years 2024 through 2026, Plaintiff States expect to

 receive the following amounts on average each year from federal highway formula funds: 2

             •   California: $5,712,406,670

             •   Colorado: $802,058,625

             •   Connecticut: $824,220,886

             •   Delaware: $281,784,462

             •   Hawaii: $309,599,980
             •   Illinois: $2,287,392,926

             •   Maine: $303,389,649

             •   Maryland: $939,441,101

             •   Massachusetts: $1,093,675,864

             •   Michigan: $1,595,420,115

             •   Minnesota: $977,931,098

          2
            As reported on U.S. DEP’T OF TRANSP., FEDERAL HIGHWAY ADMIN., FY 2022 - FY 2023 ACTUAL AND FY
 2024 - 2026 ESTIMATED STATE-BY-STATE FEDERAL-AID HIGHWAY PROGRAM APPORTIONMENTS AND FUNDING FOR
 THE BRIDGE FORMULA PROGRAM, NATIONAL ELECTRIC VEHICLE INFRASTRUCTURE FORMULA PROGRAM, AND
 APPALACHIAN DEVELOPMENT HIGHWAY SYSTEM UNDER THE INFRASTRUCTURE INVESTMENT AND JOBS ACT, PUBLIC
 LAW 117-58, available at https://tinyurl.com/4j9sryyw.

                                                   12
Case 1:25-cv-00208-JJM-PAS           Document 1 Filed 05/13/25              Page 13 of 63 PageID #:
                                              13



             •   Nevada: $553,285,185

             •   New Jersey: $1,643,735,917

             •   New Mexico: $559,033,747

             •   New York: $2,758,572,196

             •   Oregon: $757,332,328

             •   Rhode Island: $357,117,356

             •   Vermont: $329,090,548

             •   Washington: $1,079,603,509

             •   Wisconsin: $1,098,227,514

      57.    Plaintiff States have applied for or intend to apply for federal-aid highway funds in

 fiscal year 2025 and future fiscal years when these funds are available.

            2. Other Federal Highway Grant Programs
      58.    In addition to the billions of dollars in annual funding Congress directs U.S. DOT to

 provide to Plaintiff States through federal highway-aid formula funding programs, Congress also

 authorized the Federal Highway Administration to administer other highway funding.

      59.    For instance, Congress enacted and appropriated federal funding for the

 Infrastructure for Rebuilding America (INFRA) grant program to assist States in developing

 improvements to freight and highway projects of national or regional significance. 23 U.S.C.
 § 117; see also Fixing America’s Surface Transportation Act of 2015, Pub. L. No. 114-94,

 § 1105, 129 Stat. 1312, 1332. In creating INFRA, Congress authorized U.S. DOT to issue grants

 to state and public agencies for various highway and bridge projects to improve the safety,

 efficiency, and reliability of the movement of freight and people across rural and urban areas;

 generate national and regional economic benefits; and address the impact of population growth

 on the movement of people and freight. See 23 U.S.C. § 117(c)-(d).

      60.    Another example is the Wildlife Crossing Pilot Program. When enacting the

 Infrastructure Investment and Jobs Act of 2021, Congress authorized funding for the Wildlife



                                                 13
Case 1:25-cv-00208-JJM-PAS            Document 1 Filed 05/13/25            Page 14 of 63 PageID #:
                                               14



 Crossing Pilot Program to aid States in improving safety for motorists by reducing the number of

 wildlife-vehicle collisions. See 23 U.S.C. § 171.

      61.    None of the statutes underlying these other Federal Highway Administration funding

 programs describe immigration enforcement as a purpose for which the funds are awarded. None

 of the statutes underlying these other Federal Highway Administration funding programs

 describe immigration enforcement as a condition or criterion for U.S. DOT awarding funding

 under these programs.

      62.    For instance, the statute authorizing INFRA grants requires the Secretary to only

 consider a project’s funding sources, cost-effectiveness, and other factors relating to the project.

 23 U.S.C. § 117(g)-(h). It provides no authority for U.S. DOT to place additional conditions on

 grant funding determinations, and certainly not conditions relating to immigration enforcement.

      63.    Similarly, the statutory provisions authorizing wildlife crossing grants state that the

 primary criteria for selecting grant recipients is “the extent to which the proposed project of an

 eligible entity is likely to protect motorists and wildlife by reducing the number of wildlife-

 vehicle collisions and improve habitat connectivity for terrestrial and aquatic species.” 23 U.S.C.

 § 171(e)(1); see also id. § 171(f)(1) (Secretary of Transportation “shall ensure that a grant

 received under the pilot program is used for a project to reduce wildlife-vehicle collisions”).

      64.    Plaintiff States receive and rely upon substantial federal grants from these and other
 Federal Highway Administration programs for critical projects.

      65.     For example, such funding has supported bridge restoration or replacement projects.

 In Rhode Island, INFRA grants have been key to funding the reconstruction of the Washington

 Bridge, which abruptly closed due to severe safety concerns. Reconstruction of this bridge is

 vital for ensuring the safe travel of persons and goods in and out of Rhode Island’s capital city

 and port. Without a full capacity bridge crossing the Seekonk River, Providence and the West

 Bay of Rhode Island remain cut off from the East Bay of Rhode Island and critical points in

 southeastern Massachusetts, including Fall River and Cape Cod.



                                                  14
Case 1:25-cv-00208-JJM-PAS             Document 1 Filed 05/13/25             Page 15 of 63 PageID #:
                                                15



       66.   In fiscal year 2024, Michigan received $196,005,837 in INFRA grants for its River

 Raisin Bridge and Interstate 75 Revitalization Project. The River Raisin Bridge carries about

 61,000 vehicles daily—about a quarter of which are trucks—between Detroit and Toledo. Built

 in 1955, the bridge’s combination of age and high use presents safety concerns that the

 replacement project aims to address, in addition to reconstruction of more than three miles of the

 connecting Interstate 75.

       67.   Similarly, in fiscal year 2024, Minnesota and Wisconsin were awarded just over $1

 billion in INFRA grants for the replacement of Blatnik Bridge. The Blatnik Bridge connects

 Minnesota and Wisconsin and serves an average of 33,000 cars traveling between the two States

 each day. Built in 1961, the aging Blatnik Bridge is now in poor condition, has weight

 restrictions and traffic safety issues, and is nearing the end of its service life. Without the

 replacement project—and the funds to support it—the Blatnik Bridge is predicted to close by

 2030.

       68.   Oregon, too, has recently been awarded more than $2 billion in Bridge Investment

 Project and other federal highway grants to support the replacement of the I-5 Columbia River

 Interstate Bridge connecting Oregon and Washington. The current bridge is a major corridor

 between communities, with over 120,000 average daily crossings and over $132 million in

 freight commodity value crossing the bridge daily in 2020. Replacement of the interstate bridge
 is necessary to replace the aging structure with an earthquake-resistant bridge that can address

 heavy congestion, safety issues, and limited public transit options. And federal funding is

 essential for the replacement project, as the project previously suffered interruptions due to

 insufficient funding.

       69.   Federal Highway Administration funding has supported other vital infrastructure

 projects as well. For instance, California has been granted an INFRA award of $105,000,000 to

 improve state and U.S. highways, create jobs, and improve freight movement. Specifically, the

 $105,000,000 award funds the State Route 84 – Interstate 101 Interchange project in San Mateo
 County to replace ramps, widen local roads connected to them, add signals, and add pedestrian

                                                   15
Case 1:25-cv-00208-JJM-PAS                Document 1 Filed 05/13/25                 Page 16 of 63 PageID #:
                                                   16



 and bicycle paths on local connecting roads. These developments will alleviate significant freight

 bottlenecks to the nearby Port of Redwood City and reduce congestion in the Redwood City to

 South San Francisco Bay region, a fast growing area. Though California is being awarded the

 $105,000,00, U.S. DOT has not yet obligated the funds.3

       70.    In fiscal year 2024, Illinois received INFRA grants totaling $81,589,533 to make

 improvements along a three-mile elevated rail corridor on Chicago’s South Side.

       71.     Further, U.S. DOT has allocated $350 million in funding to the States for fiscal

 years 2022 through 2026 to assist with the Wildlife Crossing Pilot Program. These funds support

 programs including the building of overpasses and underpasses, the restoration of habitat to

 facilitate animal crossings, and other types of efforts including safety innovation research and the

 mapping of wildlife-vehicle collisions.

       72.    For instance, the California Department of Transportation received an $8 million

 wildlife crossing grant in fiscal years 2022 and 2023 for work on the Gaviota Pass Wildlife

 Connectivity and Vehicle Collision Reduction Project. The project aims to reduce vehicle

 collisions and connect wildlife habitat on State Park lands across either side of Highway 101,

 including through expansion of a culvert and construction of miles of fencing that allows animals

 to cross the highway without endangering either drivers or wildlife.

       73.    Similarly, the Maryland State Highway Administration has been awarded a Wildlife
 Crossing Pilot Program grant of $387,424 for federal fiscal years 2024 and 2025.

       74.     Moreover, in 2022-2023, the Vermont Agency of Transportation received a $1.6

 million award to design a wildlife crossing to reduce wildlife vehicle collisions and reestablish

 wildlife connectivity in the heart of the Green Mountains, between some of the largest and least

 fragmented forest blocks in the northeastern United States.




         3
           Federal funds are “obligated” when the federal government has taken a legal commitment to pay those
 funds. See 23 U.S.C. § 106(a)(3).

                                                        16
Case 1:25-cv-00208-JJM-PAS            Document 1 Filed 05/13/25             Page 17 of 63 PageID #:
                                               17



      75.     Plaintiff States have applied or intend to apply for federal highway funds under these

 various funding programs in fiscal year 2025 and future fiscal years when these funds are

 available.

       B.     Federal Funding from the Federal Transit Administration
      76.     Congress created the Federal Transit Administration to administer federal funding to

 support transit systems across the States—including buses, subways, light rail, commuter rail,

 trolleys, and ferries—and the millions of Americans who rely upon them every day. See 49

 U.S.C. § 5301 (“It is in the interest of the United States . . . to foster the development and

 revitalization of public transportation systems . . . .”). The Federal Transit Administration is a

 sub-agency within U.S. DOT. 49 U.S.C. § 107(a).

      77.     The Federal Transit Administration oversees thousands of grants provided to States,

 tribes, and local public agencies to support public transportation. Among other funding

 programs, the Federal Transit Administrations administers formula grants for urban areas, rural

 areas, and the enhanced mobility of seniors and individuals with disabilities. See, e.g., 49 U.S.C.

 §§ 5307, 5310, 5311.

      78.     For example, the Federal Transit Administration oversees formula grants for rural

 areas to ensure that all communities, not just urban centers, have access to public transportation.

 49 U.S.C. § 5311. Entities eligible for funding under these grants include States and Indian
 tribes. 49 U.S.C. § 5311(a).

      79.     For the Federal Transit Administration’s formula grants, each State is entitled to a

 specific allocation by law. See, e.g., 49 U.S.C. § 5311(c).

      80.     The statutes authorizing these grants do not authorize U.S. DOT to impose the

 Immigration Enforcement Condition as a requirement for the Federal Transit Administration’s

 formula funding.




                                                  17
Case 1:25-cv-00208-JJM-PAS            Document 1 Filed 05/13/25             Page 18 of 63 PageID #:
                                               18



      81.    Plaintiff States receive and rely upon substantial sums of funding from Federal

 Transit Administration grant programs. For fiscal year 2025, Plaintiff States expect to receive the

 following funding apportioned from all Federal Transit Administration formula grants:4

             •   California: $2,085,116,209

             •   Colorado: $200,765,144

             •   Connecticut: $265,353,760

             •   Delaware: $37,469,784

             •   Hawaii: $65,879,982

             •   Illinois: $860,700,111

             •   Maine: $50,281,879

             •   Maryland: $364,735,296

             •   Massachusetts: $545,571,942

             •   Michigan: $203,427,466

             •   Minnesota: $174,069,813

             •   Nevada: $105,591,696

             •   New Jersey: $868,923,367

             •   New Mexico: $78,497,808

             •   New York: $2,331,328,789
             •   Oregon: $164,236,846

             •   Rhode Island: $59,539,397

             •   Vermont: $16,014,805

             •   Washington: $390,420,253

             •   Wisconsin: $120,360,892

      82.    The Federal Transit Administration also administers several other major competitive

 grants, in addition to the formula funds it distributes to States. For instance, the Federal Transit

        4
         As reported on U.S. DEP’T OF TRANSP., FEDERAL TRANSIT ADMINISTRATION, FY 2025 FULL YEAR
 APPORTIONMENT STATE TOTALS, available at https://tinyurl.com/ysdfthsa.

                                                   18
Case 1:25-cv-00208-JJM-PAS           Document 1 Filed 05/13/25            Page 19 of 63 PageID #:
                                              19



 Administration authorized a grant of $7,407,963 to Rhode Island in fiscal year 2024 to support

 the State’s replacement, repair, or purchase of buses and bus facilities. Oregon similarly received

 a bus and bus facility grant of $3,743,883 in fiscal year 2022. Maryland also received an award

 of $213,696,341 for replacement of aging light rail vehicles for federal fiscal years 2024 and

 2025.

      83.     No statute authorizes U.S. DOT to impose the Immigration Enforcement Condition

 as a requirement for Federal Transit Administration funding. Neither the purpose of these

 programs, nor their grant criteria, are in any way connected to immigration enforcement.

      84.     Plaintiff States have applied or intend to apply for Federal Transit Administration

 federal grant funding, including formula grants for rural areas, in fiscal year 2025 and future

 fiscal years when these funds are available.

         C.   Federal Funding from the Federal Railroad Administration
      85.     The United States has long subsidized the development of railroads systems

 connecting the country. See, e.g., Pacific Railway Act, 12 Stat. 489 (July 1, 1862); Darwin P.

 Roberts, The Legal History of Federally Granted Railroad Rights-of-Way and the Myth of

 Congress’s ‘1871 Shift’, 82 U. Colo. L. Rev. 85, 97-98 (2011). While newer forms of

 transportation have emerged since the advent of the railroad, railroads and railcars continue to

 provide a vital means of overland transport, covering nearly 140,000 miles across the country
 and carrying 1.9 billion tons of raw material every year. Brian Chansky and Michael Schultz,

 Tracking Productivity in Line-Haul Railroads, BEYOND THE NUMBERS: PRODUCTIVITY, U.S.

 Bureau of Labor Statistics, Mar. 2024.

      86.     To ensure safety and efficiency throughout these railroad networks, a sub-agency

 within U.S. DOT, the Federal Railroad Administration, administers federal funding to support

 both passenger and freight rail development, maintenance, and safety throughout the States. See

 49 U.S.C. § 103. These include, among other grants, federal grants to Amtrak; the Consolidated

 Rail Infrastructure and Safety Improvement Program; Corridor Identification and Development
 Program; Federal-State Partnership for Intercity Passenger Rail Grant Program; Railroad

                                                  19
Case 1:25-cv-00208-JJM-PAS             Document 1 Filed 05/13/25             Page 20 of 63 PageID #:
                                                20



 Crossing Elimination Grant Program; Railroad Safety State Participation Grant Program; and

 Special Transportation Safety Circumstances Grant Program.

      87.      None of the statutes underlying these Federal Rail Administration funding programs

 describes immigration enforcement as a criterion for U.S. DOT awarding federal funds under

 these programs. None of these statutes announce program purposes nor grant criteria involving

 immigration enforcement.

      88.      For instance, the Rail Crossing Elimination Grant Program was created by Congress

 to eliminate the dangers caused by stopped trains blocking rail grade crossings. See 49 U.S.C.

 § 22909(b).

      89.      Congress has made such funding available to the States to eliminate the hazards of

 railway crossings since at least the 1970s. See, e.g., Federal-Aid Highway Act of 1973, Pub. L.

 No. 93-87, § 203(b), 87 Stat. 283 (appropriating $175 million “for projects for the elimination of

 hazards of railway-highway crossings”). More recently, in 2021, Congress appropriated $3

 billion over five years, and authorized to be appropriated an additional $500 million per year

 over that same period, to fund grants under a program to eliminate especially problematic grade

 crossings. See Passenger Rail Expansion and Rail Safety Act of 2021, Pub. L. No. 117-58, 135

 Stat. 720 (codified at 49 U.S.C. 22909(b)(1)); see also Pub. L. No. 117-58, 135 Stat. 695-696

 (authorizing to be appropriated $500 million each fiscal year from 2022 through 2026 for the
 program); Infrastructure Investment and Jobs Act, Pub. L. No. 117-58, 135 Stat. 1436

 (appropriating $3 billion for the program).

      90.      The authorizing statute for rail crossing elimination grants states that the Secretary

 “shall” evaluate certain criteria for selecting projects funded by the grants, including, among

 other things, whether the proposed projects would “improve safety at highway-rail or pathway-

 rail crossings”; “grade separate, eliminate, or close highway-rail or path-way rail crossings”;

 “improve the mobility of people or goods”; “reduce emissions, protect the environment, and

 provide community benefits, including noise reduction”; “improve access to emergency
 services”; “provide economic benefits”; and “improve access to communities separated by rail

                                                    20
Case 1:25-cv-00208-JJM-PAS           Document 1 Filed 05/13/25              Page 21 of 63 PageID #:
                                              21



 crossings.” 49 U.S.C. § 22909(f). None of these criteria include federal immigration

 enforcement.

      91.    Plaintiff States receive and rely upon substantial sums of funding from Federal Rail

 Administration grant programs, including from the Rail Crossing Elimination Grant Program.

 For instance, Illinois has been awarded $43,125,000 in Rail Crossing Elimination Grant funding

 for grade crossing and bridge-related improvements in the Greater Chicago region. Illinois has

 also been awarded $38,629,295 under the Restoration and Enhancements Grants program to

 support the development of a new daily roundtrip Amtrak Borealis service from Chicago,

 Illinois, to Minneapolis-St. Paul, Minnesota. Separately, under the Consolidated Rail

 Infrastructure and Safety Improvement Program, New York has been awarded $215,104,000 for

 its projects ensuring and improving the safety of its rail systems.

      92.    Maryland has received funding awards from the Federal Rail Administration

 including: Rail Crossing Elimination Grants of $1,534,280 for federal fiscal years 2022 to 2025

 and $3,108,969 for federal fiscal year 2024; and Consolidated Rail Infrastructure and Safety

 Improvement Program grants of $8,800,000 for federal fiscal year 2022, $800,000 for federal

 fiscal year 2024, and $11,584,317 for federal fiscal years 2022 to 2026.

      93.    Plaintiff States have applied or intend to apply for Federal Rail Administration funds,

 including railroad crossing elimination grants, in fiscal year 2025 and future fiscal years when
 these funds are available.

       D.    Federal Funding from the Federal Motor Carrier Safety Administration
      94.    Established in 2000, the Federal Motor Carrier Safety Administration’s primary

 mission is to prevent injuries and deaths that result from crashes involving commercial vehicles,

 such as large trucks and buses. See Motor Carrier Safety Improvement Act of 1999, Pub. L. No.

 106-159, 113 Stat. 1748. According to a 2017 report, more than 11 million large trucks travel

 U.S. roads, with almost four million people holding commercial driver’s licenses. David Randall

 Peterman, Cong. Research. Serv., R44792, Commercial Truck Safety: Overview 1 (2017). In



                                                  21
Case 1:25-cv-00208-JJM-PAS            Document 1 Filed 05/13/25            Page 22 of 63 PageID #:
                                               22



 2015, large trucks were involved in more than 400,000 motor vehicle crashes, with nearly

 100,000 of those crashes causing injuries and 3,600 resulting in fatalities. Id.

      95.     The Federal Motor Carrier Safety Administration is a sub-agency within U.S. DOT.

 49 U.S.C. § 113(a). Though the Federal Motor Carrier Safety Administration promulgates

 regulations to govern commercial drivers, the volume of commercial vehicles in this country

 requires the federal agency to rely heavily on state partners to enforce safety measures

 nationwide. See David Randall Peterman, Cong. Research Serv., R43026, Federal Traffic Safety

 Programs: In Brief 3-4 ( 2024). To enable state partners to fulfill the Federal Motor Carrier

 Safety Administration’s safety mission, the agency awards grants to state and local law

 enforcement offices to support on-site and roadside inspections, measures to secure the integrity

 of state commercial driver’s license programs, and commercial driver safety trainings.

      96.     None of the statutes underlying these Federal Motor Carrier Safety Administration

 grant programs describes federal immigration enforcement as a criterion for U.S. DOT awarding

 a federal grant under these programs. None of these statutes announce program purposes nor

 grant criteria involving federal immigration enforcement.

      97.     For instance, the Motor Carrier Safety Administration administers the Motor Carrier

 Safety Assistance Program. The program provides grants to promote the safe transportation of

 passengers and hazardous materials and reduce the number and severity of crashes, and resulting
 injuries and fatalities, involving commercial motor vehicles. 49 U.S.C. § 31102(b); 49 C.F.R.

 § 350.201.

      98.     Motor Carrier Safety Assistance Program funds have been available to States since

 Congress first authorized the program in 1982. See Surface Transportation Assistance Act of

 1982, Pub. L. No. 97-424, 96 Stat. 2097, 2155.

      99.     Congress has authorized funds be used to carry out the Motor Carrier Safety

 Assistance Program, including approximately $487 million for fiscal year 2025. See 49 U.S.C.

 § 31104(a)(1).



                                                  22
Case 1:25-cv-00208-JJM-PAS            Document 1 Filed 05/13/25            Page 23 of 63 PageID #:
                                               23



      100. The Secretary of Transportation is required to allocate Motor Carrier Safety

 Assistance Program funds pursuant to allocation criteria that the Secretary must prescribe

 through regulation. 49 U.S.C. § 31102(j); see 49 C.F.R. § 350.217. The Secretary is prohibited

 from decreasing a State’s funding levels from the allocation amount by more than three percent

 in a fiscal year, with exceptions. 49 U.S.C. § 31102(j).

      101. The Motor Carrier Safety Assistance Program statutes do not authorize U.S. DOT to

 impose the Immigration Enforcement Condition as a requirement for Motor Carrier Safety

 Assistance Program funding.

      102. Plaintiff States receive and rely upon substantial sums of funding from Federal

 Motor Carrier Safety Administration grant programs, including the Motor Carrier Safety

 Assistance Program. For instance, for fiscal year 2024, U.S. DOT estimated that it would award

 Plaintiff States the following amount of funding from all Motor Carrier Safety Administration

 Program grants:5

             •   California: $30,491,529

             •   Colorado: $7,915,874

             •   Connecticut: $4,268,837

             •   Delaware: $1,849,251

             •   Hawaii: $1,849,251
             •   Illinois: $17,435,739

             •   Maine: $2,525,332

             •   Maryland: $7,968,726

             •   Massachusetts: $8,169,109

             •   Michigan: $13,997,207

             •   Minnesota: $9,814,543

             •   Nevada: $4,319,104

        5
          As reported on U.S. DEP’T OF TRANSP., MOTOR CARRIER SAFETY ADMIN., FY 2024 ESTIMATED MCSAP
 FUNDING - ROUNDED, available at https://tinyurl.com/24xt3y39.

                                                  23
Case 1:25-cv-00208-JJM-PAS           Document 1 Filed 05/13/25            Page 24 of 63 PageID #:
                                              24



             •   New Jersey: $11,157,256

             •   New Mexico: $6,742,920

             •   New York: $19,850,351

             •   Oregon: $6,320,241

             •   Rhode Island: $1,849,251

             •   Vermont: $2,086,673

             •   Washington: $9,835,684

             •   Wisconsin: $9,636,095

      103. Plaintiff States depend upon these funds to sustain their programs ensuring

 commercial vehicle safety. For instance, the Washington State Patrol relies on annual Motor

 Carrier Safety Assistance Program funding to promote traffic safety programs in the State. The

 Washington State Patrol expects to deplete its current Motor Carrier Safety Assistance Program

 funding by mid-June 2025; if unable to draw from the $5.4 million in Motor Carrier Safety

 Assistance Program funding that it has been awarded for fiscal year 2025, the Washington State

 Patrol may not be able to sustain programs necessary to prevent commercial vehicle crashes.

      104. Similarly, in fiscal year 2024, Vermont received over $1.7 million from the Motor

 Carrier Safety Assistance Program through its High Priority Innovative Technology Deployment

 program, which provides financial assistance to States to deploy advanced technological safety
 solutions and intelligent transportation systems for commercial vehicle operations.

      105. Plaintiff States have applied or intend to apply for Motor Carrier Safety

 Administration funds, including Motor Carrier Safety Assistance Program grants, in fiscal year

 2025 and future fiscal years when these funds are available.

       E.    Federal Funding from the National Highway Traffic Safety
             Administration
      106. “The development of the automobile gave Americans unprecedented freedom to

 travel, but exacted a high price for enhanced mobility.” Motor Vehicle Mfrs. Ass’n of U.S., Inc. v.
 State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 32-33 (1983). Since 1929, car accidents have


                                                 24
Case 1:25-cv-00208-JJM-PAS           Document 1 Filed 05/13/25             Page 25 of 63 PageID #:
                                              25



 become a “leading cause of accidental deaths and injuries in the United States.” Id. at 33; see

 also Ctrs. for Disease Control and Prevention, About Transportation Safety (Nov. 19, 2024),

 https://tinyurl.com/348kk847 (“In the United States, motor vehicle crashes are a leading cause of

 death, and kill over 120 people every day.”).

      107. To protect the lives of Americans as they travel freely throughout the country,

 Congress created the National Highway Traffic Safety Administration, a sub-agency of the U.S.

 DOT, in 1966. See National Traffic and Motor Vehicle Safety Act of 1966, Pub. L. No. 89-563,

 80 Stat. 718 (codified at 49 U.S.C. § 105(a)). Among other functions, the National Highway

 Traffic Safety Administration’s Office of Regional Operations and Program Deliveries

 administers state highway safety formula grant programs to the States to support data-driven,

 evidence-based programs to save lives, prevent injuries, and reduce economic costs due to traffic

 crashes.

      108. None of the statutes underlying the National Highway Traffic Safety

 Administration’s grant programs describe federal immigration enforcement as a purpose or

 criterion for U.S. DOT awarding a federal grant under these programs.

      109. The National Highway Traffic Safety Administration’s largest safety grant programs

 include its National Priority Safety Program and its State and Community Highway Safety

 Program.
      110. First, the National Priority Safety Program provides several grants to encourage

 States to take specific actions promoting use of seat belts and child restraints; reduce impaired or

 distracted driving; require graduated licenses for teen drivers; address the safety of motorcyclists,

 bicyclists, and pedestrians; and improve the quality of state traffic safety information systems. 23

 U.S.C. § 405(a).

      111. Funds appropriated to carry out the National Priority Safety Program shall be

 apportioned to States pursuant to a statutory formula based on population and total public road

 mileage of each State, subject to a minimum apportionment for all States that meet certain
 requirements. 23 U.S.C. § 405(a). Because National Priority Safety grants are formula grants and

                                                  25
Case 1:25-cv-00208-JJM-PAS               Document 1 Filed 05/13/25          Page 26 of 63 PageID #:
                                                  26



 not competitive grants, each State is entitled to a specific allocation when the State authority files

 an application for such funding. 23 U.S.C. § 405(a).

      112. Second, the Highway Safety Program provides grants to reduce traffic crashes and

 deaths, injuries, and property damage resulting from those crashes. 23 U.S.C. § 402(a)(1)(i).

      113. Funds appropriated to carry out the Highway Safety Program “shall be used” to aid

 States’ implementation of their approved highway safety programs. 23 U.S.C. § 402(c)(1); 23

 C.F.R. § 1300.15.

      114. Funds appropriated to carry out the Highway Safety Program “shall be apportioned”

 to States pursuant to a statutory formula based on population and total public road mileage of

 each State, subject to a minimum apportionment for all States. 23 U.S.C. § 402(c)(2). Because

 Highway Safety Program grants are formula grants and not competitive grants, each State is

 entitled to a specific allocation when the State authority files an application for such funding.

      115. The National Priority Safety and Highway Safety Program statutes do not authorize

 U.S. DOT to impose the Immigration Enforcement Condition as a requirement for Highway

 Safety Program funding.

      116. Plaintiff States receive and rely upon substantial sums of funding from National

 Highway Traffic Safety Administration grant programs. For instance, Congress authorized a total

 of $395 million for fiscal year 2024 to carry out the Highway Safety Program. In fiscal year
 2024, the below States were awarded the following amounts of federal funding under the

 Highway Safety Program6:

       •       California: $35,835,906

       •       Colorado: $6,662,797

       •       Connecticut: $3,376,382

       •       Delaware: $2,960,775

       •       Hawaii: $2,960,775


         As reported on U.S. DEP’T OF TRANSP., NAT’L HIGHWAY TRAFFIC SAFETY ADMIN., FY 2024 GRANT
           6

 FUNDING TABLE, available at https://tinyurl.com/yc79fyzc (figures rounded to the nearest dollar).

                                                  26
Case 1:25-cv-00208-JJM-PAS           Document 1 Filed 05/13/25            Page 27 of 63 PageID #:
                                              27



       •   Illinois: $13,588,437

       •   Maine: $2,960,775

       •   Maryland: $5,692,502

       •   Massachusetts: $6,473,201

       •   Michigan: $10,851,031

       •   Minnesota: $7,827,576

       •   Nevada: $3,564,794

       •   New Jersey: $8,328,358

       •   New Mexico: $3,336,441

       •   New York: $18,792,047

       •   Oregon: $5,194,602

       •   Rhode Island: $2,960,775

       •   Vermont: $2,960,775

       •   Washington: $7,983,382

       •   Wisconsin: $7,354,781

      117. Plaintiff States employ National Highway Traffic Safety Administration funds for a

 range of programs that seek to reduce traffic injuries and deaths. For instance, California’s Office

 of Traffic Safety subgrants Highway Safety Program funds to entities promoting educational
 campaigns on safe driving; it also subgrants funds to support law enforcement efforts to police

 and prevent traffic violations, like driving under the influence, that could endanger drivers on the

 road. Federal funding sustains a substantial majority of California’s traffic safety program

 administration—of California’s 47 Office of Traffic Safety employees, 32 are 100 percent

 federally funded, and the remaining 15 employees are majority-funded by federal funding (more

 than 70 percent).

      118. Similarly, Vermont uses Highway Traffic Safety funds to address safety risks

 associated with unrestrained passenger vehicle occupants, impaired driving, speeding, and
 distracted and reckless driving.

                                                 27
Case 1:25-cv-00208-JJM-PAS           Document 1 Filed 05/13/25            Page 28 of 63 PageID #:
                                              28



      119. The Washington Traffic Safety Commission also receives and subgrants National

 Highway Traffic Safety Administration funding. It subgrants that funding to 143 entities—

 including law enforcement agencies, tribes, non-profits, state agencies, universities, and city and

 county governments—to develop and coordinate statewide and local behavioral traffic safety

 programs. Among other things, this federal funding has helped expand traffic enforcement units

 by resulting in the creation or hiring of 9.5 positions across seven local law enforcement

 agencies; funded positions at the Department of Licensing, the Office of the Administrator of the

 Courts, and toxicologists at the Washington State Patrol Toxicology Lab; and helped expand the

 number of young driver traffic safety programs to more middle schools, high schools, and

 colleges, as well as to drivers under age 25 through an app-based rewards program.

      120. In fiscal year 2024, the Washington Traffic Safety Commission also received

 $358,117 in funding to support a Fatality Analysis Reporting System and Crash Reporting

 Sampling System that supplies data for a nationwide, annual census that informs the creation of

 public policies to further reduce fatal injuries from traffic crashes. The Washington Traffic

 Safety Commission anticipates receiving $368,452 in fiscal year 2025 to support the same data

 collection systems.

      121. During its most recent budget cycle for 2023 to 2025, 80 percent of the Washington

 Traffic Safety Commission’s operating budget originates from funds awarded by the National
 Highway Traffic Safety Administration.

      122. Plaintiff States have applied or intend to apply for National Highway Traffic Safety

 Administration grants in fiscal year 2025 and future fiscal years when these funds are available.

       F.    Federal Funding from the Federal Aviation Administration
      123. Congress created the Federal Aviation Agency in 1958 to form an entity that would

 focus solely on ensuring civil aviation safety. See Federal Aviation Act of 1958, Pub. L. No. 85-

 726, 85 Stat. 726. The Agency was later renamed the Federal Aviation Administration and

 transferred to the purview of U.S. DOT in 1966. See 49 U.S.C. § 106(a). In its most recent
 reauthorization of the agency in 2024, Congress charged the Federal Aviation Administration

                                                 28
Case 1:25-cv-00208-JJM-PAS             Document 1 Filed 05/13/25              Page 29 of 63 PageID #:
                                                29



 with a number of duties, including the hiring and training of air traffic controllers; the

 modernization of the national airspace system; the administration of aviation workforce

 development grants to train future pilots and maintenance technicians; and the establishment of

 aviation safety initiatives, including inspections of repair stations, qualifications for aircraft

 maintainers, and aircraft certification processes. FAA Reauthorization Act of 2024, Pub. L. No.

 118-63, 138 Stat. 1025.

       124. Recent tragedies highlight the importance of the Federal Aviation Administration’s

 safety mission. On January 29, 2025, an American Airlines plane and U.S. Army Black Hawk

 helicopter collided mid-air over the Potomac River in Washington, D.C. All 67 passengers on

 board both aircraft were killed in the tragic crash. A week later, a regional airline flight crashed

 off the coast of Alaska, resulting in the deaths of all 10 passengers onboard. And several small

 plane crashes have occurred since then, in Arizona, Florida, Pennsylvania, and New York.

       125. To prevent such disasters, the Federal Aviation Administration seeks to ensure safe

 airways by, among other things, administering federal funding programs to state and local

 governments to improve airport needs and safety under the Airport Improvement Program. The

 Airport Improvement Program has provided federal funding to the States for airport development

 and planning since 1982. Airport and Airway Improvement Act of 1982, Pub. L. No. 97-248, 95

 Stat. 671.
       126. The Airport Improvement Program provides federal funding to States to maintain a

 safe and efficient system of public-use airports that meets the present and future needs of civil

 aeronautics. Its funding generally supports airport runways, taxiways, noise abatement, and

 safety or emergency equipment. In doing so, the federal funding program allows States to

 improve the safe operation of their airports and increase the capacity of their facilities to

 accommodate passenger and cargo traffic.

       127. The Federal Aviation Administration funds both formula and competitive grants

 under the Airport Improvement Program.



                                                   29
Case 1:25-cv-00208-JJM-PAS            Document 1 Filed 05/13/25             Page 30 of 63 PageID #:
                                               30



      128. For its formula funding, the Airport Improvement Program provides several formula

 grants, including those supporting primary airports (large airports that satisfy a certain passenger

 volume), cargo service airports, and general aviation airports. 49 U.S.C. § 47114.

      129. Because these airport grants are formula grants and not competitive ones, each State

 is entitled to a specific allocation when the State authority files an application for such funding.

 49 U.S.C. § 47114.

      130. Additionally, the Airport Improvement Program includes grants awarded on a

 competitive basis. These funds are granted on a per-project basis by the Secretary of

 Transportation from the Airport and Airway Trust Fund. 49 U.S.C. § 47104.

      131. States, local governments, public agencies, and private owners of public-use airports

 are eligible to apply for Airport Improvement Program grants. 49 U.S.C. §§ 47102, 47105. States

 can receive and administer funds from the Airport Improvement Program through the state block

 grant program for airports in the State classified as non-primary by the Federal Aviation

 Administration. 49 U.S.C. § 47128.

      132. The Secretary can only place specific conditions on the issuance of Airport

 Improvement Program grants; these conditions are spelled out in the Airport Improvement

 Program statutes. 49 U.S.C. §§ 47106, 47107. These conditions are all related to the projects

 funded by the Airport Improvement Program. Id. § 41707. The Secretary is authorized to modify
 these conditions, but these changes must be published in the Federal Register and open to a

 comment period. Id. § 41707(h)(1).

      133. Additionally, the Secretary is authorized to impose terms on a grant offer, but only

 those terms necessary to carry out the priorities of the Airport Improvement Program. Id. at §

 47108(a).

      134. The Airport Improvement Program statutes do not authorize U.S. DOT to impose the

 Immigration Enforcement Condition as a requirement for Airport Improvement Program

 funding. None of the statutes underlying the Federal Aviation Administration’s grant programs



                                                  30
Case 1:25-cv-00208-JJM-PAS               Document 1 Filed 05/13/25          Page 31 of 63 PageID #:
                                                  31



 describe immigration enforcement as a purpose or criterion for U.S. DOT awarding a federal

 grant under these programs.

      135. Plaintiff States receive and rely on Airport Improvement Program grants for critical

 airport projects within their States. In Fiscal Year 2024, Plaintiff States received the following

 formula apportionments under the Airport Improvement Program:7

       •       California: $18,861,826

       •       Colorado: $5,222,633

       •       Connecticut: $1,431,328

       •       Delaware: $422,708

       •       Hawaii: $845,270

       •       Illinois: $6,262,073

       •       Maine: $1,565,306

       •       Maryland: $2,541,522

       •       Massachusetts: $2,782,647

       •       Michigan: $6,500,087

       •       Minnesota: $4,671,007

       •       Nevada: $4,488,870

       •       New Jersey: $3,516,075
       •       New Mexico: $4,482,919

       •       New York: $8,741,925

       •       Oregon: $4,509,547

       •       Rhode Island: $431,216

       •       Vermont: $520,827

       •       Washington: $4,888,477

       •       Wisconsin: $4,076,549


         As reported on U.S. DEP’T OF TRANSP., FEDERAL AVIATION ADMINISTRATION., FISCAL YEAR 2024 STATE
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 APPORTIONMENT, available at https://tinyurl.com/2v9y6ks4.

                                                   31
Case 1:25-cv-00208-JJM-PAS             Document 1 Filed 05/13/25           Page 32 of 63 PageID #:
                                                32



      136. Plaintiff States have applied or intend to apply for Federal Aviation Administration

 grants, including the Airport Improvement Program, in fiscal year 2025 and future fiscal years

 when these funds are available.

       G.    Federal Funding from the Federal Maritime Administration
      137. The Maritime Administration is the sub-agency within U.S. DOT responsible for the

 nation’s waterborne transportation systems. 49 U.S.C. § 109(a). It supports the nation’s ships,

 shipyards, ports, and shipping lanes and waterways, and it oversees other related issues like

 environmental protection and vessel safety.

      138. As part of its responsibilities, the Maritime Administration administers federal

 funding to state and local governments related to water transportation.

      139. None of the statutes underlying the Maritime Administration’s funding programs

 describe federal immigration enforcement as a purpose or criterion for U.S. DOT awarding a

 federal grant under these programs.

      140. For instance, the Port Infrastructure Development Program (PIDP) exists to provide

 federal grants to states, local governments, and public agencies for the purpose of improving the

 safety, efficiency, or reliability of the movement of goods through ports and intermodal

 connections to ports. 46 U.S.C. § 54301(a)(1). In 2022, nearly 300 ports throughout the United

 States handled 2.6 billion short tons of cargo. Bureau of Transp. Statistics, U.S. Dep’t of Transp.,
 Port Performance Freight Statistics: 2025 Annual Report 6 (2025).

      141. PIDP was authorized by Congress as part of the National Defense Authorization Act

 for Fiscal Year 2010, Pub. L. No. 111-84, § 3512, 123 Stat. 2190, 2722-24. The program is

 codified at 46 U.S.C. § 54301.

      142. U.S. DOT gives these grants for port projects and projects directly related to port

 operations or to an intermodal connection to a port. 46 U.S.C. § 54301(a)(3)(A)(i). Recipients of

 PIDP funds must use the funds to improve the safety, efficiency, or reliability of the loading and

 unloading of goods at the port, the movement of goods into, out of, around, or within a port,



                                                 32
Case 1:25-cv-00208-JJM-PAS            Document 1 Filed 05/13/25            Page 33 of 63 PageID #:
                                               33



 operational improvements, environmental and emission mitigation measures, and port

 infrastructure. Id. § 54301(a)(3)(A)(ii).

       143. The PIDP statute only requires and authorizes the Secretary of Transportation to

 impose grant conditions related to maintenance of records related to the grant project. Id.

 § 54301(a)(10).

       144. The PIDP statute does not authorize U.S. DOT to impose the Immigration

 Enforcement Condition as a requirement for PIDP funding.

       145. Plaintiff States receive and rely upon substantial sums of Maritime Administration

 funding, such as PIDP funding, for important projects developing their ports, harbors, and

 shipyards. For instance, Rhode Island has been awarded $26,380,000 in total PIDP funding

 throughout fiscal years 2022, 2023, and 2024 for its port development projects. In fiscal year

 2024, Rhode Island received $11.25 million to improve the Port of Davisville’s terminal access;

 build a new 8.6-acre terminal to facilitate greater transport of large cargo; support the

 development of the new Frys Cove Road to provide further access to another 19.3 acres of area

 around the port; and add improvements to reinforce the port’s security and resilience against sea

 level rise.

       146. Plaintiff States have applied or intend to apply for Maritime Administration grants,

 including PIDP, in fiscal year 2025 and future fiscal years when these funds are available.

       H.      Federal Funding from the Pipeline and Hazardous Materials Safety
               Administration
       147. The United States has approximately 3.3 million miles of pipelines transporting

 natural gas, crude oil, and other hazardous liquids onshore throughout the country. To guarantee

 that these pipelines can power the States’ communities safely and reliably, Congress charged the

 Pipeline and Hazardous Materials Safety Administration, a sub-agency within U.S. DOT, with

 developing and enforcing regulations to ensure safe, reliable, and environmentally sound

 transportation of energy and other hazardous materials. See 49 U.S.C. § 108.




                                                  33
Case 1:25-cv-00208-JJM-PAS           Document 1 Filed 05/13/25             Page 34 of 63 PageID #:
                                              34



      148. Pipeline accidents may cause devastating environmental damage and harm to public

 safety. For instance, in 2023, a natural gas pipeline-related explosion and fire at a factory in West

 Reading, Pennsylvania, killed seven people and caused 10 others to be hospitalized. In 2018,

 overpressure in a natural gas pipeline in Merrimack Valley, Massachusetts led to explosions and

 fires that killed one person, injured 21 others, damaged 131 structures, and forced 30,000

 residents to evacuate. And in 2015, the Aliso Canyon Underground Storage Facility in Los

 Angeles County experienced an uncontrolled natural gas leak that released about 109,000 metric

 tons of methane. This noxious gas leak forced the temporary relocation of over 8,000 households

 and two schools in the nearby Porter Ranch community.

      149. To prevent and mitigate such accidents, the Pipeline and Hazardous Materials Safety

 Administration’s pipeline safety program “relies heavily on state partnerships” to maintain safe

 and reliable energy pipelines throughout the country. Paul W. Parfomak, Cong. Research Serv.,

 R44201, DOT’s Federal Pipeline Safety Program: Background and Issues for Congress, (2023).

 The statute provides for States to assume authority to oversee the safety of intrastate gas

 pipelines, hazardous liquid pipelines, and underground natural gas storage pursuant to

 certifications and agreements formed with the federal government establishing, among other

 things, minimum federal pipeline safety standards. The District of Columbia, Puerto Rico, and

 all States except Alaska and Hawaii participate in this pipeline safety program, overseeing over
 85 percent of the pipeline infrastructure subject to the agency’s authority.

      150. As part of this partnership, the Pipeline and Hazardous Materials Safety

 Administration administers the distribution of federal funding through several funding programs,

 including the Pipeline Safety Program State Base Grant (State Pipeline Safety Grants). The

 statute requires the agency to provide these federal grants to reimburse States up to 80 percent of

 the total cost of the personnel, equipment, and activities reasonably required “to provide

 adequate protection against risks to life and property,” including through the “design,

 installation, inspection, emergency plans and procedures, testing, construction, extension,



                                                  34
Case 1:25-cv-00208-JJM-PAS            Document 1 Filed 05/13/25             Page 35 of 63 PageID #:
                                               35



 operation, replacement, and maintenance of pipeline facilities.” 49 U.S.C. §§ 60102(a)(1),

 (a)(2)(B), 60107(a)(1)-(2).

       151. State Pipeline Safety Grant funds have been available to States since 2003. See Pub.

 L. No. 108-7, 117 Stat. 11, 405 (codified at 49 U.S.C. § 60107).

       152. Because State Pipeline Safety Grants are formula grants and not competitive grants,

 each State is entitled to a specific allocation when the State authority files an application for such

 funding. 49 U.S.C. § 60107(a).

       153. No statute authorizes U.S. DOT to impose the Immigration Enforcement Condition

 as a requirement for State Pipeline Safety Grant funding. Neither the purpose of the program nor

 the grant criteria are in any way connected to federal immigration enforcement.

       154. Plaintiff States rely on funding from Pipeline and Hazardous Materials Safety

 Administration, including through Pipeline Safety grants, to ensure the safety of their

 communities. For example, in fiscal year 2024, California’s Office of the State Fire Marshal, a

 division of the Department of Forestry and Fire Prevention, received $6,375,627 in

 reimbursements under State Pipeline Safety Grants for the regular safety inspections of oil

 pipelines running throughout the State, including personnel costs, equipment, training, and

 travel. Rhode Island was also awarded nearly $400,000 in total from fiscal years 2022 through

 2024, under the Hazardous Material Emergency Preparedness program, to support the State’s
 training and emergency protocols for handling and transporting hazardous materials.

       155. Plaintiff States have applied for or intend to apply for Pipeline and Hazardous

 Materials Administration grants, including State Pipeline Safety and Hazardous Material

 Emergency Preparedness grants, in fiscal year 2025 and future fiscal years when these funds are

 available.

 II.   STATES HAVE EXERCISED THEIR SOVEREIGN PREROGATIVE TO CHOOSE HOW TO
       DEPLOY LAW ENFORCEMENT RESOURCES IN THEIR STATES
       156. In our “system of dual sovereignty between the States and the Federal Government,”
 Gregory v. Ashcroft, 501 U.S. 452, 457 (1991), States retain the general police power “to protect


                                                  35
Case 1:25-cv-00208-JJM-PAS            Document 1 Filed 05/13/25             Page 36 of 63 PageID #:
                                               36



 the people, property, and economic activity within [their] borders,” New York v. New Jersey, 598

 U.S. 218, 225 (2023). “[I]n the exercise of such powers the state has wide discretion in

 determining its own public policy and what measures are necessary for its own protection and

 properly to promote the safety, peace and good order of its people.” Terrace v. Thompson, 263

 U.S. 197, 217 (1923). That means “the Federal Government may not compel the States to

 implement, by legislation or executive action, federal regulatory programs.” Printz v. United

 States, 521 U.S. 898, 925 (1997). Nor may the federal government “impress into its service—and

 at no cost to itself—the police officers of the 50 states.” Id. at 922.

       157. When exercising that police power, one critical choice that Plaintiff States must

 make is whether to task their state agencies or law enforcement officers with assisting the federal

 government in enforcing federal immigration law.

       158. Many Plaintiff States and their political subdivisions, for decades, have chosen to

 limit their entanglement in the enforcement of federal immigration law. See, e.g., Cal. Penal

 Code § 422.93(a), (b); Cal. Gov’t Code §§ 7282-7282.5, 7284-7284.12; 5 Ill. Comp. Stat. 805/1

 to /20; N.J. Att’y Gen. Directive 2018-6 (rev. 2019); Md. Code Ann., Crim. Proc. § 5-104; Colo.

 Rev. Stat. § 24-76.6-102 to -103; Conn. Gen. Stat. § 54-192h; D.C. Code § 24-211.07; N.Y.

 Exec. Orders 170 and 170.1; Or. Rev. Stat. §§ 181.850, 181A.820; R.I. State Police Gen. Order

 56A10; Vt. Stat. Ann. tit. 20, §§ 2366, 4651; Wash. Rev. Code Ann. §§ 10.93.160, 43.10.315.
 These laws and policies uniformly authorize state and local authorities to comply with applicable

 federal laws but impose limitations on the circumstances under which state and local officers can

 devote their own, limited resources to assisting the federal government in enforcing federal

 immigration law.

       159. These laws and policies are based on the considered experience of state agencies and

 law enforcement officers, who found that immigrants are less likely to participate in public

 health programs or to report crimes if they fear that the responding official or officer will turn

 them over to immigration authorities. For the latter, this reluctance makes it increasingly difficult



                                                   36
Case 1:25-cv-00208-JJM-PAS             Document 1 Filed 05/13/25              Page 37 of 63 PageID #:
                                                37



 for officers to solve crimes and bring suspects to justice, putting all residents at risk. See, e.g.,

 N.J. Att’y Gen. Directive 2018-6, at 1; Cal. Gov. Code § 7284.2.

       160. These States’ determinations are also well-supported by empirical data. Numerous

 studies have confirmed that laws entangling state agencies with immigration enforcement deters

 immigrants from seeking necessary healthcare, harming the health of the entire community. See,

 e.g., Steven Asch et al., Does Fear of Immigration Authorities Deter Tuberculosis Patients from

 Seeking Care?, 161 W. J. of Med. 373 (1994). Studies have also confirmed that immigration-

 related fears prevent witnesses, victims, and others from reporting crimes. Surveys of law

 enforcement officers and analyses of victim reporting data conclude that fear of immigration

 enforcement decreased immigrant victims’ likelihood of making police reports and reporting

 domestic violence, participating in investigations, and working with prosecutors. See Rafaela

 Rodrigues et al., Promoting Access to Justice for Immigrant and Limited English Proficient

 Crime Victims in an Age of Increased Immigration Enforcement: Initial Report from a 2017

 National Survey, National Immigrant Women’s Advocacy Project 72-73 (2018). One study

 estimated that policies designed to foster greater cooperation between immigrant communities

 and police could cause an additional 90,000 violent incidents per year to be reported to law

 enforcement nationwide. See Ricardo D. Martínez-Schuldt & Daniel E. Martínez, Immigrant

 Sanctuary Policies and Crime-Reporting Behavior: A Multilevel Analysis of Reports of Crime
 Victimization to Law Enforcement, 1980 to 2004, 86 Am. Sociological Rev. 154, 170 (2021).

 And one study examined 2,492 counties throughout the United States and found that counties

 with such policies had statistically significant lower levels of crime—35.5 fewer crimes per

 10,000 people—than comparable counties without such policies. Tom K. Wong, The Effects of

 Sanctuary Policies on Crime and the Economy, Ctr. for Am. Progress 4-6 (Jan. 26, 2017).

       161. Participation in federal immigration enforcement efforts also imposes substantial

 costs on state and local law enforcement by diverting their limited resources and exposing them

 to potential civil liability for acts connected to immigration enforcement.



                                                    37
Case 1:25-cv-00208-JJM-PAS            Document 1 Filed 05/13/25             Page 38 of 63 PageID #:
                                               38



      162. For example, California enacted Senate Bill 54, known as the California Values Act,

 Cal. Gov’t Code §§ 7284-7284.12, to foster “trust between California’s immigrant community

 and state and local agencies,” to “ensure effective policing, to protect the safety, well-being, and

 constitutional rights of the people of California,” and “to direct the state’s limited resources to

 matters of greatest concern to state and local governments.” Id. § 7284.2. In furtherance of those

 objectives, the Values Act sets the parameters under which California law enforcement agencies

 may assist in immigration enforcement. For example, the Values Act: (a) prohibits compliance

 with detainer hold requests, id. § 7284.6(a)(1)(B); (b) defines when California law enforcement

 agencies may comply with requests by immigration authorities seeking the release date and time

 of a person in advance of the person’s release, id. §§ 7282.5(a), 7284.6(a)(1)(C); (c) defines

 when California law enforcement agencies may transfer an individual to immigration

 authorities—including when authorized by a judicial warrant or judicial probable cause

 determination, id. §§ 7282.5(a), 7284.6(a)(4); and (d) restricts California law enforcement

 agencies from “[p]roviding personal information . . . about an individual” for “immigration

 enforcement purposes,” unless that information is publicly available, id. § 7284.6(a)(1)(D).

      163. The Values Act, however, does not prohibit California law enforcement agencies

 from asserting its own jurisdiction over criminal law enforcement matters, id. § 7284.6(f), and

 permits other forms of cooperation with immigration authorities. It does not restrict law
 enforcement agencies from responding to requests from immigration authorities for a specific

 person’s criminal history. Id. § 7284.6(b)(2). The Values Act permits law enforcement agencies

 to participate in task forces with immigration authorities and share confidential information if the

 “primary purpose” of the task force is not immigration enforcement. Id. § 7284.6(b)(3). And it

 expressly authorizes compliance with all aspects of 8 U.S.C. §§ 1373 and 1644. Id. § 7284.6(e).

      164. Illinois has codified its commitment to building trust between immigrant

 communities and state and local law enforcement officers in the TRUST Act, which was enacted

 in 2017 by the Illinois General Assembly and signed into law by Bruce Rauner, then the
 Republican Governor of Illinois. The TRUST Act provides that law enforcement agencies and

                                                   38
Case 1:25-cv-00208-JJM-PAS            Document 1 Filed 05/13/25             Page 39 of 63 PageID #:
                                               39



 officers in Illinois may not detain a person solely on the basis of an “immigration detainer” or a

 civil immigration warrant, 5 Ill. Comp. Stat. 805/15(a), and generally prohibits them from

 detaining people solely on the basis of citizenship or immigration status, id. § 805/15(b). The

 statute also prohibits state and local law enforcement officials from assisting federal immigration

 agents in any enforcement operations, id. § 805/15(h)(1); providing access to detained

 individuals to immigration agents, id. § 805/15(h)(2); and giving immigration agents non-public

 information about the release dates of detained individuals, id. § 805/15(h)(7). But the TRUST

 Act expressly allows state and local law enforcement officers to cooperate with federal

 immigration enforcement actions when “presented with a federal criminal warrant” or “otherwise

 required by federal law,” id. § 805/15(h), and also expressly states that it should not be read to

 “restrict” information-sharing regarding “citizenship or immigration status” in accordance with

 two federal statutes, 8 U.S.C. § 1373 and § 1644, id. § 805/5.

      165. Maryland law enables law enforcement to investigate crime regardless of

 immigration status while also encouraging immigrant communities to cooperate with law

 enforcement. Maryland law generally prohibits law enforcement agents from inquiring about an

 individual’s “citizenship, immigration status, or place of birth during a stop, a search, or an

 arrest,” while engaging in the performance of “regular police functions.” Md. Code Ann., Crim.

 Proc. § 5-104. It also prohibits law enforcement agents from detaining, or extending the
 detention of, an individual for the purposes of “investigating the individual’s citizenship or

 immigration status, or based on the suspicion that the individual has committed a civil

 immigration violation.” Id. Maryland law further prohibits law enforcement agents from

 intimidating, threatening, or coercing any individual on the basis of the actual or perceived

 immigration status of the individual or their family member, legal guardian, or someone for

 whom they serve as a guardian, and from transferring an individual to federal immigration

 authorities unless specifically required to do so by federal law. Id. The law specifically states,

 “Nothing in this subsection shall prevent a law enforcement agent from inquiring about any
 information that is material to a criminal investigation.” Id.

                                                  39
Case 1:25-cv-00208-JJM-PAS            Document 1 Filed 05/13/25             Page 40 of 63 PageID #:
                                               40



      166. Moreover, Maryland law restricts State and local officials from sharing an

 individual’s photograph or “personal information,” such as their address, with a federal agency

 seeking to enforce the immigration laws. Md. Code Ann., Gen Prov. § 4-320.1(b). However, it

 will share such information with a federal agency seeking to enforce immigration laws when a

 judicial warrant is presented. Id.

      167. Other Plaintiff States have made different decisions or are subject to different rules

 in this context. For instance, some Plaintiff States must comply with state court rulings that

 prevent them from cooperating with civil immigration detainer requests. See Lunn v.

 Commonwealth, 477 Mass. 517, 518-19 (2017).

      168. Still other Plaintiff States without codified directives of the kind described above

 have not imposed categorical limitations on the use of law-enforcement or state agency resources

 to assist in the enforcement of federal immigration law. However, they nonetheless do not to

 impose categorical requirements of this kind on their law enforcement officers and state agency

 employees, either.

      169. Some of these States have concluded that participating in federal immigration

 enforcement efforts imposes substantial costs on local jurisdictions, not only in the form of

 personnel and resources but also in the form of potential civil liability. And some such States

 have reasoned that even where law enforcement resources are dedicated to assisting with
 enforcement of federal immigration law, it is preferable to retain critical decision-making

 authority regarding when to offer those resources and how many resources to offer.

      170. Thus, although Plaintiff States have made different decisions regarding the use of

 their law enforcement and agency resources, all Plaintiff States’ decisions in this area are

 consistent with the basic rule that the States “remain independent and autonomous within their

 proper sphere of authority,” Printz, 521 U.S. at 928—a principle that has no greater force than in

 the context of States’ exercise of their police powers for the protection of their residents.




                                                  40
Case 1:25-cv-00208-JJM-PAS            Document 1 Filed 05/13/25             Page 41 of 63 PageID #:
                                               41


 III. THE FEDERAL GOVERNMENT’S ATTEMPTS TO DEFUND STATE AND LOCAL
      JURISDICTIONS FOR EXERCISING THEIR SOVEREIGN PREROGATIVES
       171. Through the Duffy Directive and Immigration Enforcement Condition, Defendants

 seek to unilaterally restrict all federal funding intended to support States’ roads, highways,

 railways, waterways, and airways for entirely unrelated federal immigration ends. Defendants’

 actions challenged here are the latest of many attempts by the Trump Administration, in both its

 first and second terms, to coerce States and local governments into becoming mere extensions of

 the federal government’s civil immigration enforcement efforts.

       A.       The First Trump Administration’s Efforts to Defund and Take
                Enforcement Actions Against State and Local Officials for Declining to
                Enforce Federal Immigration Law

       172. In January 2017, President Trump issued Executive Order 13,768. 82 Fed. Reg.

 8,799 (Jan. 25, 2017) (2017 Executive Order). The 2017 Executive Order directed the U.S.

 Attorney General and Secretary of Homeland Security to “ensure that jurisdictions that willfully

 refuse to comply with 8 U.S.C. § 1373 (sanctuary jurisdictions) are not eligible to receive

 Federal grants . . . .” Id. at 8801. It also directed the U.S. Attorney General to “take appropriate

 enforcement action against any entity that violates 8 U.S.C. § 1373, or which has in effect a

 statute, policy, or practice that prevents or hinders the enforcement of Federal law.” Id.

       173. In response, the City and County of San Francisco and County of Santa Clara filed

 suits challenging the 2017 Executive Order. See City & Cnty. of San Francisco v. Trump, 897
 F.3d 1225, 1230 (9th Cir. 2018). The Ninth Circuit held that the 2017 Executive Order violated

 the constitutional separation of powers because Congress did not authorize the administration to

 “redistribute or withhold properly appropriated funds in order to effectuate its own policy goals.”

 Id. at 1235.

       174. Nonetheless, the Trump Administration took several other actions targeting several

 Plaintiff States.

       175. The Trump Administration brought a civil lawsuit against California, seeking to
 invalidate the California Values Act and other state laws under the Supremacy Clause. United


                                                  41
Case 1:25-cv-00208-JJM-PAS           Document 1 Filed 05/13/25             Page 42 of 63 PageID #:
                                              42



 States v. California, 921 F.3d 865, 872-73 (9th Cir. 2019). As to the Values Act, the district court

 denied the United States’ motion for a preliminary injunction and dismissed its complaint, and

 the U.S. Court of Appeals for the Ninth Circuit affirmed, holding that the Act is not preempted,

 and it “does not directly conflict with any obligations that the INA or other federal statutes

 impose on state or local governments,” including 8 U.S.C. § 1373. Id. at 887-93.

      176. Moreover, the federal government repeatedly endeavored to defund many Plaintiff

 States—in particular, by imposing immigration enforcement conditions on funding Plaintiff

 States received from the Byrne Justice Access Grants Program. These immigration enforcement

 conditions prompted extensive litigation, in which courts, including the First Circuit, repeatedly

 held the immigration enforcement conditions to exceed the United States Department of Justice’s

 statutory authority. City of Providence v. Barr, 954 F.3d 23, 42 (1st Cir. 2020); City of

 Philadelphia v. Att’y Gen. of United States, 916 F.3d 276, 291 (3d Cir. 2019); City of Chicago v.

 Barr, 961 F.3d 882, 931 (7th Cir. 2020); City & Cnty. of San Francisco v. Barr, 965 F.3d 753,

 766 (9th Cir. 2020); City of Los Angeles v. Barr, 941 F.3d 931, 945 (9th Cir. 2019); Colorado v.

 U.S. Dep’t of Justice, 455 F. Supp.3d 1034, 1053-54 (D. Colo. 2020); see also City of

 Albuquerque v. Barr, 515 F. Supp. 3d 1163, 1180 (D.N.M. 2021) (granting preliminary

 injunction); City of Evanston v. Sessions, No. 18 C 4853, 2018 WL 10228461, at * (N.D. Ill.

 2018) (same). But see New York v. U.S. Dep’t of Justice, 951 F.3d 84, 123 (2d Cir. 2020).

       B.    The Current Trump Administration’s Efforts to Defund and Threaten
             Enforcement Actions Against Plaintiff States

      177. Hours after the inauguration, the current Trump Administration quickly renewed its

 efforts to defund so-called sanctuary jurisdictions. On January 20, 2025, President Trump signed

 Executive Order 14,159. 90 Fed. Reg. 8,443 (Jan. 20, 2025) (2025 Executive Order). The 2025

 Executive Order commands the Attorney General and the Secretary of Homeland Security to

 “undertake any lawful actions to ensure that so-called ‘sanctuary’ jurisdictions, which seek to

 interfere with the lawful exercise of Federal law enforcement operations, do not receive access to
 Federal funds,” and to “undertake any other lawful actions, criminal or civil, that they deem

                                                  42
Case 1:25-cv-00208-JJM-PAS            Document 1 Filed 05/13/25             Page 43 of 63 PageID #:
                                               43



 warranted based on any such jurisdiction’s practices that interfere with the enforcement of

 Federal law.” Id. at 8,446.

      178. On January 29, 2025, Secretary of Transportation Sean Duffy issued an order to

 “update[] and reset[] the principles and standards underpinning U.S. Department of

 Transportation (Department or DOT) policies, programs, and activities.” Ex. A (Duffy Order).

 The Order states that, “[t]o the maximum extent permitted by law, DOT-supported or -assisted

 programs and activities, including without limitation, all DOT grants, loans, contracts, and DOT-

 supported or -assisted State Contracts, shall prioritize projects and goals” that “require local

 compliance or cooperation with Federal immigration enforcement and with other goals and

 objectives specified by the President of the United States or the Secretary.”

      179. On April 24, 2025, Secretary Duffy issued a letter to “all recipients” of U.S. DOT

 funding to “clarify and reaffirm pertinent legal requirements, to outline the Department’s

 expectations, and to provide a reminder of your responsibilities and the consequences of

 noncompliance with Federal law and the terms of your financial assistance agreements,”

 including “terminat[ion of] funding.” Ex. B at 1 (Duffy Directive).

      180. The Duffy Directive announces U.S. DOT’s policy of imposing an Immigration

 Enforcement Condition as a requirement for all U.S. DOT funding. The Duffy Directive asserts

 that recipients’ “legal obligations require cooperation generally with Federal authorities in the
 enforcement of Federal law, including cooperating with and not impeding U.S. Immigration and

 Customs Enforcement (ICE) and other Federal offices and components of the Department of

 Homeland Security in the enforcement of Federal immigration law.” Id. at 2. The Duffy

 Directive further claims that there are “reported instances where some recipients of Federal

 financial assistance have declined to cooperate with ICE investigations, have issued driver’s

 licenses to individuals present in the United States in violation of Federal immigration law, or

 have otherwise acted in a manner that impedes Federal law enforcement.” Id. It warns that

 “failure to cooperate . . . in the enforcement of Federal law” will “jeopardize your continued



                                                  43
Case 1:25-cv-00208-JJM-PAS           Document 1 Filed 05/13/25            Page 44 of 63 PageID #:
                                              44



 receipt of Federal financial assistance from DOT and could lead to a loss of Federal funding

 from DOT.” Id. at 3.

      181. Numerous state agencies within Plaintiff States received a copy of the Duffy

 Directive directly from U.S. DOT. Additionally, the Duffy Directive was published on the U.S.

 DOT website along with a press release quoting Secretary Duffy as stating, among other things,

 that “Federal grants come with a clear obligation to adhere to federal laws,” that recipients must

 “enforce our immigration rules,” and that Secretary Duffy “will take action to ensure

 compliance.” Ex. C (U.S. DOT Press Release).

      182. In recent weeks, U.S. DOT has added substantially similar immigration enforcement

 language to its general terms and conditions for federal funding programs and grants.

      183. On April 16, 2025, the Federal Railroad Administration amended its general terms

 and conditions for all federal grants administered by the agency. Specifically, it amended the

 language in section 20.2, governing “Federal Law and Public Policy Requirements.” Ex. D

 (Excerpts of Federal Railroad Administration General Terms and Conditions). The new language

 requires recipients to “cooperate with Federal officials in the enforcement of Federal law,

 including cooperating with and not impeding U.S. Immigration and Customs Enforcement (ICE)

 and other Federal offices and components of the Department of Homeland Security in and the

 enforcement of Federal immigration law.”
      184. A few days later, on April 22, 2025, the Federal Highway Administration amended

 its general terms and conditions for all competitive grant programs administered by the agency.

 In doing so, it added the same new language to section 18.2(a), governing “Federal Law and

 Public Policy Requirements,” amending it to require recipients to “cooperate with Federal

 officials in the enforcement of Federal law, including cooperating with and not impeding U.S.

 Immigration and Customs Enforcement (ICE) and other Federal offices and components of the

 Department of Homeland Security in and the enforcement of Federal immigration law.” Ex. E

 (Excerpts of Federal Highway Administration General Terms and Conditions).



                                                 44
Case 1:25-cv-00208-JJM-PAS                 Document 1 Filed 05/13/25                   Page 45 of 63 PageID #:
                                                    45



       185. On April 25, 2025, the Federal Transit Administration followed suit and amended its

 Master Agreement—which provides the terms and conditions governing all Federal Transit

 Administration grants—to include, for the first time, the Immigration Enforcement Condition. It

 amended section 12(m) to change a civil rights provision to instead address “Federal Law and

 Public Policy Requirements,” including new language requiring recipients to “cooperate with

 Federal officials in the enforcement of Federal law, including cooperating with and not impeding

 U.S. Customs and Immigration Enforcement (ICE) and other Federal offices and components of

 the Department of Homeland Security in the enforcement of Federal immigration law.” Ex. F

 (Excerpts of Federal Transit Administration Master Agreement); Ex. G (Excerpts of Federal

 Transit Administration Master Agreement Changes, version 33).

       186. On the same day—April 25, 2025—the Federal Aviation Administration posted its

 fiscal year 2025 grant agreement template on the agency’s website. This grant agreement

 template also includes the Immigration Enforcement Condition under condition number 32,

 requiring recipients of funding to “cooperate with Federal officials in the enforcement of Federal

 law, including cooperating with and not impeding U.S. Customs and Immigration Enforcement

 (ICE) and other Federal offices and components of the Department of Homeland Security in the

 enforcement of Federal immigration law.” Ex. H (Excerpts of Federal Aviation Administration

 Template Grant Agreement for Fiscal Year 2025).8
       187. Nearly identical language was also recently added to the terms and conditions of

 specific grant award documents.

       188. For example, on May 2, a Federal Transit Administration staff person orally

 informed a staff member of the Maryland Transit Administration, a component of the Maryland

 Department of Transportation, that the Immigration Enforcement Condition in the revised Master

 Agreement would apply to all future and existing Federal Transit Administration funding. In

 response to this oral representation about the immigration condition, Maryland Transit

          8
           In addition, the Federal Aviation Administration grant agreement template requires recipients to “follow
 applicable laws” in the Immigration and Nationality Act, including “the penalties set forth in 8 U.S.C. § 1324,
 Bringing in and harboring certain aliens, and 8 U.S.C. § 1327, Aiding or assisting certain aliens to enter.” Ex. H.

                                                          45
Case 1:25-cv-00208-JJM-PAS            Document 1 Filed 05/13/25           Page 46 of 63 PageID #:
                                               46



 Administration staff requested that the representation be provided in writing, but Maryland has

 not received a response as of the date of this filing.

         189. Since issuing the revised Master Agreement, the Federal Transit Administration has

 issued administrative amendments to several existing grants made to the Maryland Transit

 Administration. These amendments have the effect of conditioning Maryland’s access to

 hundreds of millions of dollars in funding—which have already been allocated and awarded—

 upon acceptance of the Immigration Enforcement Condition.

         190. Federal officials have also pressured Maryland transportation officials to quickly

 execute pending grant agreements that contain the Immigration Enforcement Condition and have

 warned that failure to do so would be seen as a refusal to cooperate that could broadly jeopardize

 Maryland’s Department of Transportation funding, which totals more than a billion dollars

 annually.

         191. These experiences are not isolated—they are echoed throughout Plaintiff States. In

 the last few weeks, U.S. DOT has also imposed the Immigration Enforcement Condition on

 specific grants in the process of being awarded to: California (Bridge Investment Program and

 Advanced Transportation Technology and Innovation); Illinois (Rail Crossing Elimination

 Program); Massachusetts (Rail Crossing Elimination Program); Michigan (Advanced

 Transportation Technology Innovation, Wildlife Crossing Pilot Project, Rail Crossing
 Elimination Program, and Consolidated Rail Infrastructure and Safety Improvement); Minnesota

 (Airport Infrastructure Grants and Airport Improvement Project Grants); New York (Motor

 Carrier Safety Assistance Program, Railroad Crossing Elimination Program, and Wildlife

 Crossing Pilot Program); Rhode Island (Bridge Investment Program); Washington (Motor

 Carrier Safety Assistance Program); and Wisconsin (Advanced Transportation Technology and

 Innovation and Motor Carrier Safety Assistance Program).

         192. In some of these instances, U.S. DOT staff have demanded that state officials

 execute these grant agreements containing the Immigration Enforcement Condition in a matter of
 days.

                                                   46
Case 1:25-cv-00208-JJM-PAS           Document 1 Filed 05/13/25             Page 47 of 63 PageID #:
                                              47



       193. Other federal agencies—including the Department of Homeland Security (DHS) and

 Department of Housing and Urban Development—have issued similar conditions, threatening to

 withhold federal funding unless Plaintiff States partake in federal immigration enforcement

 actions. For instance, on March 27, 2025, the Department of Homeland Security issued its fiscal

 year 2025 “Standard Terms and Conditions” that include several conditions relating to federal

 immigration enforcement.

       194. On April 28, 2025, President Trump issued another Executive Order rrequiring “the

 Attorney General, in coordination with [DHS]” to publish a list of “sanctuary jurisdictions” and

 to “notify each sanctuary jurisdiction regarding its defiance of Federal immigration law

 enforcement and any potential violations of Federal criminal law.” Id. The Attorney General and

 DHS are to publish this list within 30 days of the issuance of the Executive Order—i.e., May 28,

 2025. Id.

       195. Section 3(a) of the April 28 Executive Order then directs agencies to “identify

 appropriate Federal funds to sanctuary jurisdictions, including grants and contracts, for

 suspension or termination, as appropriate,” 90 Fed. Reg. at 18,761-62, expanding to all federal

 agencies a similar directive in the January 20 Executive Order that applied only to the Attorney

 General and DHS, 90 Fed. Reg. at 8,446.

 IV.   THE DUFFY DIRECTIVE AND IMMIGRATION ENFORCEMENT CONDITION
       IRREPARABLY HARM PLAINTIFF STATES
       196. Defendants’ unlawful actions irreparably harm Plaintiff States by forcing them into

 an impossible dilemma. On the one hand, Plaintiff States can stand firm and collectively lose

 billions of dollars in critical funding for transportation and safety programs. On the other hand,

 Plaintiff States can capitulate to an unlawful Immigration Enforcement Condition that could

 divert Plaintiff States’ limited resources to federal immigration enforcement, while undermining

 core public safety imperatives by eroding trust and cooperation between immigrant communities

 and state and local law enforcement.




                                                  47
Case 1:25-cv-00208-JJM-PAS            Document 1 Filed 05/13/25              Page 48 of 63 PageID #:
                                               48



       197. Plaintiff States have received and relied upon the federal funding at issue to support

 safe and extensive transportation infrastructure for decades—and in some cases, for more than a

 century. These funds enable Plaintiff States to develop safe and effective means of transportation

 for hundreds of millions of Americans in ways they could not without this financial support.

 These funds develop and sustain the highways that carry Plaintiff States’ residents to and from

 home; the airports that enable them to cross the country and the globe; the safety measures that

 protect drivers from fatal accidents; the signals and barriers that prevent train collisions; and the

 firefighters that inspect and ensure safe pipelines that cross millions of miles throughout Plaintiff

 States. Due to the consistent, regular receipt of these funds, and the multi-year cycles for which

 these funds are granted, these federally funded activities are closely woven together with

 Plaintiff States’ efforts to maintain, develop, and ensure the safety of their roads, bridges,

 highways, railroads, ferries, ports, and airports. There is no realistic way for Plaintiff States to

 borrow funds, shift existing funds, or obtain funds from other sources sufficient to counteract an

 abrupt and unlawful withdrawal of this federal funding.

       198. If Plaintiff States do not submit to Defendants’ unlawful Immigration Enforcement

 Condition, Defendants threaten to restrict billions of dollars in transportation funding, posing an

 immediate risk to countless transportation systems, projects, and safety measures. Supra ¶¶ 41-

 156. A loss, even a temporary one, of this federal funding—and the resulting impacts to the
 public safety efforts that it enables—poses irreparable harm to the residents of Plaintiff States

 who will be exposed to greater risk of tragic accidents.

       199. Moreover, many of the federal funds at issue are passed on by Plaintiff States to

 subrecipient local governments whose projects or programs may be funded at least in large part

 by those federal funds, and which therefore may incur substantial harms in the wake of the Duffy

 Directive and Immigration Enforcement Condition. For example, California’s Office of Traffic

 Safety subgrants National Highway Traffic Safety Administration funding to approximately 500

 state, regional, and local agencies, including public health departments, fire departments, and law
 enforcement offices. These grant funds support safety initiatives targeted at the State’s most

                                                   48
Case 1:25-cv-00208-JJM-PAS            Document 1 Filed 05/13/25              Page 49 of 63 PageID #:
                                               49



 critical traffic-safety needs, including those that combat alcohol and drug-impaired driving;

 prevent distracted driving; ensure use of seat belts and child safety seats; guarantee bicycle and

 pedestrian safety; and provide emergency medical services. A loss of federal funding could result

 in these critical safety programs being terminated or scaled back.

       200. Further, the loss of these billions of dollars in federal funding constitutes irreparable

 harm because Plaintiff States lack any damages remedy that would enable them to recover these

 funds due to the federal government’s sovereign immunity. The States also would be unable to

 obtain compensation for the harms they would suffer as a consequence of an abrupt and unlawful

 denial of funding.

       201. The unlawful condition also inflicts additional irreparable harm on the States by

 infringing their sovereign rights, damaging public trust, and harming public safety.

       202. First, Defendants’ introduction of the unlawful condition interferes with Plaintiff

 States’ sovereign right to enact policies that best protect their communities, potentially requiring

 state or local personnel to violate state laws limiting the use of state or local resources for federal

 civil immigration purposes. See supra ¶¶ 159-67; cf. Printz, 521 U.S. at 925 (“The Federal

 Government may not compel the States to implement, by legislation or executive action, federal

 regulatory programs.”).

       203. Second, submitting to Defendants’ unlawful condition would also cause Plaintiff
 States to incur administrative costs and burdens from the diversion of personnel time, the

 development and administration of new training programs, and the creation of new guidelines for

 how staff must participate in federal immigration enforcement. Submission to Defendants’

 unlawful condition may also result in limited state or local resources being diverted to pursue

 federal civil immigration enforcement activities, taking those resources away from Plaintiff

 States’ commitments to ensuring the safety of their roads, highways, railroads, airways, or

 waterways. It could also expose Plaintiff States and their officers to civil liability for acts

 performed in connection with federal immigration enforcement. These, again, represent fiscal



                                                   49
Case 1:25-cv-00208-JJM-PAS           Document 1 Filed 05/13/25             Page 50 of 63 PageID #:
                                              50



 losses that could not be recovered as damages due to the federal government’s sovereign

 immunity.

      204. Third, accepting Defendants’ unlawful condition would cause Plaintiff States to

 undermine the trust they have cultivated between law enforcement and immigrant communities.

 That breach of goodwill, trust, and cooperation cannot be easily restored once this litigation has

 concluded. Without that trust, members of immigrant communities will be less likely to

 participate in public health programs or help police officers, detectives, and prosecutors

 investigate crimes, identify offenders, or press charges. Accepting Defendants’ unlawful

 condition could thus result in irreparable harm by exposing Plaintiff States’ residents to greater

 incidents of illness and crime.

      205. In sum, Plaintiff States have relied upon U.S. DOT funding for more than a century

 to sustain vital transportation infrastructure that connects their communities and this country.

 The Duffy Directive and Defendants’ adoption of the unlawful Immigration Enforcement

 Condition force the Plaintiff States into a Hobson’s choice: forgo billions of dollars essential for

 critical transportation infrastructure or accept an unlawful and unconstitutional condition that

 surrenders the States’ sovereignty, damages community trust, and undermines public safety.

                                   FIRST CAUSE OF ACTION

                     Ultra Vires Agency Action Not Authorized by Congress
       206. Plaintiff States reallege and incorporate herein by reference each and every

 allegation and paragraph set forth previously.

       207. An executive agency “has no power to act . . . unless and until Congress confers

 power upon it.” Louisiana Pub. Serv. Comm’n v. FCC, 476 U.S. 355, 374 (1986); see also Nat’l

 Fed. Indep. Business v. Dep’t of Labor, 595 U.S. 109, 117 (2022) (“Administrative agencies are

 creatures of statute. They accordingly possess only the authority that Congress has provided.”).

       208. Defendants may exercise only that authority which is conferred by statute. See City

 of Arlington v. FCC, 569 U.S. 290, 297 (2013) (federal agencies’ “power to act and how they are



                                                  50
Case 1:25-cv-00208-JJM-PAS           Document 1 Filed 05/13/25             Page 51 of 63 PageID #:
                                              51



 to act is authoritatively prescribed by Congress, so that when they act improperly, no less than

 when they act beyond their jurisdiction, what they do is ultra vires”).

       209. Federal courts possess the power in equity to grant injunctive relief “with respect to

 violations of federal law by federal officials.” Armstrong v. Exceptional Child Ctr., Inc., 575

 U.S. 320, 326-27 (2015). Indeed, the Supreme Court has repeatedly allowed equitable relief

 against federal officials who act “beyond th[e] limitations” imposed by federal statute. Larson v.

 Domestic & Foreign Com. Corp., 337 U.S. 682, 689 (1949).

       210. As described above, Defendants lack any statutory authority to impose the

 Immigration Enforcement Condition as a requirement for federal funding. None of the statutes

 governing the federal funding at issue mentions state cooperation with federal immigration

 enforcement as a criterion for eligibility. Given that the Defendants adopted the Immigration

 Enforcement Condition to conscript the machinery of State government into federal immigration

 enforcement efforts, there is special reason to question the lawfulness of their actions. Gregory v.

 Ashcroft, 501 U.S. 452, 461 (1991) (statutes should not be read to alter the “usual constitutional

 balance between the States and the Federal Government” unless that intention is “unmistakably

 clear in the language of the statute”); see also Gonzales v. Oregon, 546 U.S. 243, 275-76 (2006)

 (concluding that “the background principles of our federal system” foreclosed reading a statute

 to confer authority on a federal agency to regulate areas traditionally supervised by the States).
       211. Indeed, under the Trump Administration’s first term, courts repeatedly held the

 administration’s efforts to impose similar immigration enforcement conditions on U.S.

 Department of Justice grants to be ultra vires. See supra ¶ 177.

       212. Defendants’ ultra vires actions have caused and will continue to cause ongoing,

 irreparable harm to Plaintiff States for which there is no adequate remedy at law.

                                 SECOND CAUSE OF ACTION

               Violation of the Spending Clause, U.S. Const. Art. I, § VIII, cl. 1.
       213. Plaintiff States reallege and incorporate herein by reference each and every
 allegation and paragraph set forth previously.

                                                  51
Case 1:25-cv-00208-JJM-PAS           Document 1 Filed 05/13/25             Page 52 of 63 PageID #:
                                              52



       214. The Spending Clause of the U.S. Constitution provides that “Congress”—not the

 Executive—“shall have Power to lay and collect Taxes, Duties, Imposts and Excises, to pay the

 Debts and provide for the common Defence and general Welfare of the United States . . . .” U.S.

 Const. Art. I, Sec. 8, cl. 1.

       215. Even when Congress has delegated some of its federal funding authority to the

 Executive Branch, including the authority to condition funding, there are limits to the conditions

 that can be imposed by Congress. See S. Dakota v. Dole, 483 U.S. 203, 207-08 (1987).

       216. Thus, even if Congress has delegated some authority to U.S. DOT to limit federal

 funds, Defendants have overstepped clear restrictions on Congress’s spending authority. See City

 of Los Angeles v. Barr, 929 F.3d 1163, 1176 n.6 (9th Cir. 2019).

       217. First, the Spending Clause requires any conditions on federal funds to be imposed

 “unambiguously,” Pennhurst State Sch. & Hosp. v. Halderman, 451 U.S. 1, 17 (1981), so that

 States deciding whether to accept such funding can “exercise their choice knowingly, cognizant

 of the consequences of their participation,” Dole, 483 U.S. at 207. This is because “legislation

 enacted pursuant to the spending power is much in the nature of a contract,” where Congress’s

 authority “to legislate . . . rests on whether the State voluntarily and knowingly accepts the terms

 of the ‘contract.’” Pennhurst, 451 U.S. at 17. Accordingly, Congress must provide States clear

 notice of the applicable funding conditions. See, e.g., Arlington Cent. Sch. Dist. Bd. of Educ. v.
 Murphy, 548 U.S. 291, 296 (2006). Plaintiff States never received any clear notice from

 Congress that transportation funding would be conditioned on participation in federal

 immigration enforcement—which is unsurprising, because Congress never intended any such

 condition.

       218. The Immigration Enforcement Condition is impermissibly vague, ambiguous, and

 retroactively imposed. The Duffy Directive, by asserting that funding may be “terminated” due

 to noncompliance with the Immigration Enforcement Condition, declares Defendants’ decision

 to impose this new condition on already awarded federal funding to Plaintiff States. Doing so
 alters the terms upon which those funds were obligated and disbursed. Moreover, the

                                                  52
Case 1:25-cv-00208-JJM-PAS           Document 1 Filed 05/13/25             Page 53 of 63 PageID #:
                                              53



 Immigration Enforcement Condition requires Plaintiff States to broadly “cooperate” in the

 enforcement of federal civil immigration law without providing any definitions or criteria that

 might suggest what conduct that would encompass, thereby imposing an ambiguous condition.

       219. Second, the Spending Clause requires conditions on federal funding to be related to

 “the federal interest in” the particular project or program. Dole, 483 U.S. at 207. Here, the

 Immigration Enforcement Condition is unlawful because it imposes a condition entirely

 unrelated to the transportation funding it encumbers.

       220. Third, the federal government may not impose conditions upon funding “so coercive

 [upon the States] as to pass the point at which ‘pressure turns into compulsion.’” Dole, 483 U.S.

 at 211; see also Nat. Fed. of Indep. Business v. Sebelius (NFIB, 567 U.S. 519, 585 (2012)

 (opinion of Roberts, C.J.) (striking down individual mandate of Affordable Care Act on grounds

 that it exceeded the Spending Clause authority by “conscript[ing] state [agencies] into the

 national bureaucratic army”).

       221. Here, Defendants’ threat to restrict all U.S. DOT funding to Plaintiff States

 (collectively, more than $24 billion in just formula highway funds alone) “is much more than

 ‘relatively mild encouragement’—it is a gun to the head” for the Plaintiff States. NFIB, 567 U.S.

 at 581 (opinion of Roberts, C.J.); see also id. (declaring funding threats to be coercive in

 violation of the Spending Clause where a State “stands to lose not merely ‘a relatively small
 percentage’” of funding from the agency, “but all of it”). The Plaintiff States’ recipient agencies

 do not have the budgets to offset this loss of federal funding, and much of their overall budgets

 are already committed to fixed expenditures, such as public safety staff salaries. Consequently,

 losing this federal funding “would have significant effects on [the States’] ability to provide

 services to [its] residents.” Cnty. of Santa Clara v. Trump, 275 F. Supp. 3d 1196, 1215 (N.D.

 Cal. 2017), aff’d in part, vacated in part, remanded sub nom. City & Cnty. of San Francisco v.

 Trump, 897 F.3d 1225 (9th Cir. 2018).

       222. Both the financial scale of the affected funding programs and the substantial
 human cost of forgoing them each render the Immigration Enforcement Condition

                                                  53
Case 1:25-cv-00208-JJM-PAS            Document 1 Filed 05/13/25              Page 54 of 63 PageID #:
                                               54



 sufficiently coercive as to be unconstitutional. Such threats to Plaintiff States’ critical

 infrastructure and safety programs constitute “economic dragooning that leaves the States with

 no real option but to acquiesce” to federal dictates. NFIB, 567 U.S. at 582 (opinion of Roberts,

 C.J.); see also id. at 582 n.12 (“‘Your money or your life’ is a coercive proposition, whether you

 have a single dollar in your pocket or $500.”).

       223. Federal courts possess the power in equity to “grant injunctive relief … with respect

 to violations of federal law by federal officials.” Armstrong, 575 U.S. at 327; see also Panama

 Ref. Co. v. Ryan, 293 U.S. 388, 414 (1935) (noting that plaintiffs are “entitled to invoke the

 equitable jurisdiction to restrain enforcement” of unconstitutional acts by federal officials).

       224. Defendants’ violations of the Spending Clause have caused and will continue to

 cause ongoing, irreparable harm to Plaintiff States for which there is no adequate remedy at law.

                                   THIRD CAUSE OF ACTION

 Violation of the Administrative Procedure Act, 5 U.S.C. § 706(2)(C), in Excess of Statutory
                                        Authority

       225. Plaintiff States reallege and incorporate herein by reference each and every

 allegation and paragraph set forth previously.

       226. Defendant U.S. DOT is an “agency” under the Administrative Procedure Act (APA),

 5 U.S.C. § 551(1), and the Duffy Directive and the Defendants’ adoption of the Immigration
 Enforcement Condition constitute “[a]gency action made [judicially] reviewable by statute and

 final agency action for which there is no other adequate remedy in a court.” Id. § 704; see

 Bennett v. Spear, 520 U.S. 154, 177-78 (1997).

       227. Under the APA, a “court shall . . . hold unlawful and set aside agency actions,

 findings, and conclusions found to be . . . in excess of statutory jurisdiction, authority, or

 limitations, or short of statutory right.” 5 U.S.C. § 706(2)(C).

       228. As described above, Defendants exceed their statutory authority by issuing the Duffy

 Directive and introducing the Immigration Enforcement Condition as a requirement of federal
 funding. No statutory authority permits Defendant to threaten to deny billions of dollars unless

                                                   54
Case 1:25-cv-00208-JJM-PAS            Document 1 Filed 05/13/25              Page 55 of 63 PageID #:
                                               55



 Plaintiff States comply with the Immigration Enforcement Condition. The Immigration

 Enforcement Condition is unauthorized and should be set aside by this Court.

       229.     Defendants’ violations of the APA have caused and will continue to cause

 ongoing, irreparable harm to Plaintiff States for which there is no adequate remedy at law.

                                  FOURTH CAUSE OF ACTION

     Violation of the Administrative Procedure Act, 5 U.S.C. § 706(2)(A), Arbitrary and
                                         Capricious
       230. Plaintiff States reallege and incorporate herein by reference each and every

 allegation and paragraph set forth previously.

       231. Defendant U.S. DOT is an “agency” under the APA, 5 U.S.C. § 551(1), and the

 Duffy Letter and the Defendants’ adoption of the Immigration Enforcement Condition constitute

 “[a]gency action made [judicially] reviewable by statute and final agency action for which there

 is no other adequate remedy in a court.” Id. § 704; see Bennett v. Spear, 520 U.S. 154, 177-78

 (1997).

       232. Under the APA, a “court shall . . . hold unlawful and set aside agency actions,

 findings, and conclusions found to be . . . arbitrary, , capricious, an abuse of discretion, or

 otherwise not in accordance with law.” 5 U.S.C. § 706(2)(A).

       233. An agency action is arbitrary or capricious where it is not “reasonable and

 reasonably explained.” Fed. Commc’ns Comm’n v. Prometheus Radio Project, 592 U.S. 414,
 423 (2021). Thus, an agency action is arbitrary and capricious if the agency “relied on factors

 which Congress has not intended it to consider, entirely failed to consider an important aspect of

 the problem, offered an explanation for its decision that runs counter to the evidence before the

 agency, or is so implausible that it could not be ascribed to a difference in view or the product of

 agency expertise.” Melone v. Coit, 100 F.4th 21, 29 (1st Cir. 2024) (citation omitted).

       234. Defendants’ policy of imposing the Immigration Enforcement Condition as a

 requirement for U.S. DOT funding is arbitrary and capricious because Defendants have provided
 inadequate explanation for changing their position and imposing this condition on billions of


                                                   55
Case 1:25-cv-00208-JJM-PAS             Document 1 Filed 05/13/25             Page 56 of 63 PageID #:
                                                56



 federal dollars in transportation funding for the first time. See FCC, 592 U.S. at 423. Further, the

 Immigration Enforcement Condition is arbitrary and capricious because Defendants imposed it

 by relying on factors that Congress did not intend, such as its policy preferences on federal civil

 immigration enforcement. Defendants’ policy of imposing the Immigration Enforcement

 Condition is also arbitrary and capricious because Defendants failed to consider statutory

 authority, failed to consider the reliance interests of Plaintiff States, and failed to consider

 reasonable alternatives. See Dep’t of Homeland Sec. v. Regents of the Univ. of Cal., 591 U.S. 1,

 29-31 (2020).

       235. Finally, Defendants’ decision to impose the Immigration Enforcement Condition is

 arbitrary and capricious because Defendants fail to consider important aspects of the problem.

 Defendants fail to consider the significant harm this condition may threaten to Plaintiff States

 and their residents, who rely on the impacted federal funding for vital transportation programs

 and services. Defendants also fail to consider the significant harm this condition may threaten to

 Plaintiff States and their residents by deterring immigrant communities from reporting crimes to

 law enforcement or participating in public health programs.

       236.      Defendants’ violations of the APA have caused and will continue to cause

 ongoing, irreparable harm to Plaintiff States for which there is no adequate remedy at law.

                                    FIFTH CAUSE OF ACTION

       Violation of the Administrative Procedure Act, 5 U.S.C. § 706(2)(B), Contrary to
                                Constitutional Right or Power

       237. Plaintiff States reallege and incorporate herein by reference each and every

 allegation and paragraph set forth previously.

       238. Defendant U.S. DOT is an “agency” under the APA, 5 U.S.C. § 551(1), and the

 Duffy Directive and Immigration Enforcement Condition constitute “[a]gency action made

 [judicially] reviewable by statute and final agency action for which there is no other adequate

 remedy in a court.” Id. § 704; see Bennett v. Spear, 520 U.S. 154, 177-78 (1997).



                                                   56
Case 1:25-cv-00208-JJM-PAS            Document 1 Filed 05/13/25             Page 57 of 63 PageID #:
                                               57



       239. Under the APA, a “court shall . . . hold unlawful and set aside agency actions,

 findings, and conclusions found to be . . . contrary to constitutional right, power, privilege, or

 immunity.” 5 U.S.C. § 706(2)(B).

       240. As described above, the Duffy Directive and the Defendants’ adoption of the

 Immigration Enforcement Condition violate constitutional provisions and principles, including

 the Spending Clause.

       241.     Defendants’ violations of the APA have caused and will continue to cause

 ongoing, irreparable harm to Plaintiff States for which there is no adequate remedy at law.

                                      PRAYER FOR RELIEF
       WHEREFORE, Plaintiff States respectfully requests that this Court enter judgment in its

 favor and grant the following relief:

       1.     Declare that the Defendants’ adoption of the Immigration Enforcement Condition is

 unconstitutional and/or unlawful because it: (a) violates the APA; (b) is ultra vires; and (c) to the

 extent it relies on congressional authority, exceeds Congress’s powers under the Spending

 Clause;

       2.     Issue a preliminary and permanent injunction prohibiting Defendants from

 implementing or enforcing the Immigration Enforcement Condition as set forth in the Duffy

 Directive;
       3.     Issue a preliminary and permanent injunction prohibiting Defendants from

 withholding or terminating federal funding based on the Immigration Enforcement Condition

 absent specific statutory authorization;

       4.     Issue a preliminary and permanent injunction prohibiting Defendants from taking

 adverse action against any state entity or local jurisdiction, including debarring it or making it

 ineligible for federal funding, based on the Immigration Enforcement Condition, absent specific

 statutory authorization;




                                                  57
Case 1:25-cv-00208-JJM-PAS           Document 1 Filed 05/13/25              Page 58 of 63 PageID #:
                                              58



       5.     Vacate the Defendants’ decisions adopting the Immigration Enforcement Condition,

 and any actions taken by Defendants to implement or enforce the Immigration Enforcement

 Condition;

       6.     Retain jurisdiction to monitor Defendants’ compliance with this Court’s judgment;

       7.     Award Plaintiff States costs, expenses, and reasonable attorneys’ fees; and

       8.     Award such other relief as the Court deems just and proper.




 May 13, 2025                                      Respectfully submitted,

 ROB BONTA                                         KWAME RAOUL
  ATTORNEY GENERAL OF CALIFORNIA                    ATTORNEY GENERAL OF ILLINOIS

 Michael L. Newman*                                /s/ Alex Hemmer
   Senior Assistant Attorney General               Alex Hemmer*
 Joel Marrero*                                       Deputy Solicitor General
 James E. Stanley*                                 Christopher G. Wells*
   Supervising Deputy Attorneys General              Chief of the Public Interest Division
 Luke Freedman*                                    Darren Kinkead*
 Newton Knowles*                                     Public Interest Counsel
 Christopher Medeiros*                             R. Sam Horan*
 Alexis Piazza*                                    Michael M. Tresnowski*
 Deylin Thrift-Viveros*                            R. Henry Weaver*
   Deputy Attorneys General                          Assistant Attorneys General
                                                   Office of the Illinois Attorney General
 /s/ Delbert Tran                                  115 LaSalle Street
 Delbert Tran*                                     Chicago, IL 60603
   Deputy Attorney General                         (773) 590-7932
 California Department of Justice                  alex.hemmer@ilag.gov
 455 Golden gate Ave., Suite 11000
 San Francisco, CA 94102                           Attorneys for the State of Illinois
 (415) 229-0110
 delbert.tran@doj.ca.gov

 Attorneys for the State of California




                                                 58
Case 1:25-cv-00208-JJM-PAS             Document 1 Filed 05/13/25        Page 59 of 63 PageID #:
                                                59



 MATTHEW J. PLATKIN                              PETER F. NERONHA
  ATTORNEY GENERAL OF NEW JERSEY                  ATTORNEY GENERAL OF RHODE ISLAND

 /s/ Shankar Duraiswamy                          /s/ Patrick Reynolds
 Shankar Duraiswamy*                             Kathryn M. Sabatini (RI Bar No. 8486)
   Deputy Solicitor General                        Civil Division Chief
 Mayur P. Saxena*                                  Special Assistant Attorney General
   Assistant Attorney General                    Patrick Reynolds (RI Bar No. 10459)
 Maryanne M. Abdelmesih*                           Special Assistant Attorney General
 Surinder K. Aggarwal*                           Rhode Island Attorney General’s Office
 Yael Fisher*                                    150 South Main Street
 Nathaniel Rubin*                                Providence, RI 02903
   Deputy Attorneys General                      (401) 274-4400, Ext. 2109
 New Jersey Office of Attorney General           preynolds@riag.ri.gov
 25 Market Street, PO Box 093                    ksabatini@riag.ri.gov
 Trenton, NJ 08625-0093
 (609) 376-2745                                  Attorneys for the State of Rhode Island
 shankar.duraiswamy@law.njoag.gov

 Attorneys for the State of New Jersey


 ANTHONY G. BROWN                                PHILIP J. WEISER
  ATTORNEY GENERAL OF MARYLAND                    ATTORNEY GENERAL OF COLORADO

 /s/ James C. Luh                                /s/ Sam Wolter
 James C. Luh*                                   Sam Wolter*
   Senior Assistant Attorney General               Assistant Attorney General
 Office of the Maryland Attorney General         Colorado Department of Law
 200 Saint Paul Place                            1300 Broadway, #10
 20th Floor                                      Denver, CO 80203
 Baltimore, MD 21202                             (720) 508-6000
 (410) 576-6411                                  samuel.wolter@coag.gov
 jluh@oag.state.md.us
                                                 Attorneys for the State of Colorado
 Attorneys for the State of Maryland




                                                59
Case 1:25-cv-00208-JJM-PAS            Document 1 Filed 05/13/25        Page 60 of 63 PageID #:
                                               60



 WILLIAM TONG                                   KATHLEEN JENNINGS
  ATTORNEY GENERAL OF CONNECTICUT                ATTORNEY GENERAL OF DELAWARE

 /s/ Michael K. Skold                           /s/ Ian R. Liston
 Michael K. Skold*                              Ian R. Liston*
   Solicitor General                              Director of Impact Litigation
 Connecticut Office of the Attorney General     Vanessa L. Kassab*
 165 Capitol Avenue                               Deputy Attorney General
 Hartford, CT 06106                             Delaware Department of Justice
 (860) 808-5020                                 820 North French Street
 michael.skold@ct.gov                           Wilmington, DE 19801
                                                (302) 683-8899
 Attorneys for the State of Connecticut         ian.liston@delaware.gov

                                                Attorneys for the State of Delaware


 ANNE E. LOPEZ                                  AARON M. FREY
  ATTORNEY GENERAL OF HAWAIʻI                    ATTORNEY GENERAL OF MAINE

 /s/ Kalikoʻonālani D. Fernandes                /s/ Vivian A. Mikhail
 David D. Day*                                  Vivian A. Mikhail*
   Special Assistant to the Attorney General      Deputy Attorney General
 Kalikoʻonālani D. Fernandes*                   Office of the Maine Attorney General
   Solicitor General                            6 State House Station
 Department of the Hawaiʻi Attorney General     Augusta, ME 04333-0006
 425 Queen Street                               (207) 626-8800
 Honolulu, HI 96813                             vivian.mikhail@maine.gov
 (808) 586-1360
 david.d.day@hawaii.gov                         Attorneys for the State of Maine
 kaliko.d.fernandes@hawaii.gov

 Attorneys for the State of Hawaiʻi




                                               60
Case 1:25-cv-00208-JJM-PAS          Document 1 Filed 05/13/25           Page 61 of 63 PageID #:
                                             61



 ANDREA JOY CAMPBELL                             DANA NESSEL
  ATTORNEY GENERAL OF MASSACHUSETTS               ATTORNEY GENERAL OF MICHIGAN

 /s/ Katherine Dirks                             /s/ Neil Giovanatti
 Katherine Dirks*                                Neil Giovanatti*
   Chief State Trial Counsel                     Michael Dittenber*
 Office of the Massachusetts Attorney General      Assistant Attorneys General
 1 Ashburton Place                               Michigan Department of Attorney General
 Boston, MA 02108                                525 W. Ottawa Street
 (617) 963-2277                                  Lansing, MI 48909
 katherine.dirks@mass.gov                        (517) 335-7603
                                                 GiovanattiN@michigan.gov
 Attorneys for the Commonwealth of               DittenberM@michigan.gov
   Massachusetts
                                                 Attorneys for the People of the State of
                                                  Michigan


 KEITH ELLISON                                   AARON D. FORD
  ATTORNEY GENERAL OF MINNESOTA                   ATTORNEY GENERAL OF NEVADA

 /s/ Brian S. Carter                             /s/ Heidi Parry Stern
 Brian S. Carter*                                Heidi Parry Stern*
   Special Counsel                                 Solicitor General
 Minnesota Attorney General’s Office             Office of the Nevada Attorney General
 445 Minnesota Street                            1 State of Nevada Way, Ste. 100
 Suite 1400                                      Las Vegas, NV 89119
 St. Paul, MN 55101                              hstern@ag.nv.gov
 (651) 757-1010
 brian.carter@ag.state.mn.us                     Attorneys for the State of Nevada

 Attorneys for the State of Minnesota




                                                61
Case 1:25-cv-00208-JJM-PAS           Document 1 Filed 05/13/25        Page 62 of 63 PageID #:
                                              62



 RAÚL TORREZ                                   LETITIA JAMES
  ATTORNEY GENERAL OF NEW MEXICO                ATTORNEY GENERAL OF NEW YORK

 /s/ Steven Perfrement                         /s/ Zoe Levine
 Steven Perfrement*                            Zoe Levine*
   Senior Litigation Counsel                     Special Counsel for Immigrant Justice
 New Mexico Department of Justice              Julie Dona*
 P.O. Drawer 1508                                Special Counsel
 Santa Fe, NM 87504-1508                       Rabia Muqaddam*
 (505) 490-4060                                  Special Counsel for Federal Initiatives
 sperfrement@nmdoj.gov                         Mark Ladov*
                                                 Special Counsel
 Attorneys for the State of New Mexico         28 Liberty Street
                                               New York, NY 10005
                                               (212) 907-4589
                                               zoe.levine@ag.ny.gov

                                               Attorneys for the State of New York


 DAN RAYFIELD                                  CHARITY R. CLARK
  ATTORNEY GENERAL OF OREGON                    ATTORNEY GENERAL OF VERMONT

 /s/ Thomas H. Castelli                        /s/ Julio A. Thompson
 Thomas H. Castelli*                           Julio A. Thompson*
   Senior Assistant Attorney General             Assistant Attorney General
 Oregon Department of Justice                    Co-Director, Civil Rights Unit
 100 SW Market Street                          Officer of the Vermont Attorney General
 Portland, OR 97201                            109 State Street
 (971) 673-1880                                Montpelier, VT 05609
 thomas.castelli@doj.oregon.gov                (802) 828-3657
                                               julio.thompson@vermont.gov
 Attorneys for the State of Oregon
                                               Attorneys for the State of Vermont




                                              62
Case 1:25-cv-00208-JJM-PAS          Document 1 Filed 05/13/25        Page 63 of 63 PageID #:
                                             63



 NICHOLAS W. BROWN                            JOSHUA L. KAUL
  ATTORNEY GENERAL OF WASHINGTON               ATTORNEY GENERAL OF WISCONSIN

 /s/ Benjamin Seel                            /s/ Frances Reynolds Colbert
 Benjamin Seel*                               Frances Reynolds Colbert*
 Tyler Roberts*                                 Assistant Attorney General
 Cristina Sepe*                               Wisconsin Department of Justice
 Marsha Chien*                                Post Office Box 7857
   Assistant Attorneys General                Madison, WI 53707-7857
 Washington State Office of the Attorney      (608) 266-9226
   General                                    frances.colbert@wisdoj.gov
 800 Fifth Avenue
 Suite 2000                                   Attorneys for the State of Wisconsin
 Seattle, WA 98104-3188
 (206) 464-7744
 Benjamin.Seel@atg.wa.gov
 Tyler.Roberts@atg.wa.gov
 Cristina.Sepe@atg.wa.gov
 Marsha.Chien@atg.wa.gov

 Attorneys for the State of Washington


 * pro hac vice applications forthcoming




                                             63
